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                       EXHIBIT A
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        (Slip Opinion)              OCTOBER TERM, 2008                                       1

                                               Syllabus

                 NOTE: Where it is feasible, a syllabus (headnote) will be released, as is
               being done in connection with this case, at the time the opinion is issued.
               The syllabus constitutes no part of the opinion of the Court but has been
               prepared by the Reporter of Decisions for the convenience of the reader.
               See United States v. Detroit Timber & Lumber Co., 200 U. S. 321, 337.


        SUPREME COURT OF THE UNITED STATES

                                               Syllabus

                                     WYETH v. LEVINE

               CERTIORARI TO THE SUPREME COURT OF VERMONT

           No. 06–1249. Argued November 3, 2008—Decided March 4, 2009
        Petitioner Wyeth manufactures the antinausea drug Phenergan. After
          a clinician injected respondent Levine with Phenergan by the “IV
          push” method, whereby a drug is injected directly into a patient’s
          vein, the drug entered Levine’s artery, she developed gangrene, and
          doctors amputated her forearm. Levine brought a state-law damages
          action, alleging, inter alia, that Wyeth had failed to provide an ade
          quate warning about the significant risks of administering Phener
          gan by the IV-push method. The Vermont jury determined that Le
          vine’s injury would not have occurred if Phenergan’s label included
          an adequate warning, and it awarded damages for her pain and suf
          fering, substantial medical expenses, and loss of her livelihood as a
          professional musician. Declining to overturn the verdict, the trial
          court rejected Wyeth’s argument that Levine’s failure-to-warn claims
          were pre-empted by federal law because Phenergan’s labeling had
          been approved by the federal Food and Drug Administration (FDA).
          The Vermont Supreme Court affirmed.
        Held: Federal law does not pre-empt Levine’s claim that Phenergan’s
         label did not contain an adequate warning about the IV-push method
         of administration. Pp. 6–25.
            (a) The argument that Levine’s state-law claims are pre-empted
         because it is impossible for Wyeth to comply with both the state-law
         duties underlying those claims and its federal labeling duties is re
         jected. Although a manufacturer generally may change a drug label
         only after the FDA approves a supplemental application, the agency’s
         “changes being effected” (CBE) regulation permits certain preap
         proval labeling changes that add or strengthen a warning to improve
         drug safety. Pursuant to the CBE regulation, Wyeth could have uni
         laterally added a stronger warning about IV-push administration,
         and there is no evidence that the FDA would ultimately have rejected
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            such a labeling change. Wyeth’s cramped reading of the CBE regula
            tion and its broad assertion that unilaterally changing the Phenergan
            label would have violated federal law governing unauthorized distri
            bution and misbranding of drugs are based on the fundamental mis
            understanding that the FDA, rather than the manufacturer, bears
            primary responsibility for drug labeling. It is a central premise of the
            Food, Drug, and Cosmetic Act (FDCA) and the FDA’s regulations
            that the manufacturer bears responsibility for the content of its label
            at all times. Pp. 11–16.
               (b) Wyeth’s argument that requiring it to comply with a state-law
            duty to provide a stronger warning would interfere with Congress’
            purpose of entrusting an expert agency with drug labeling decisions
            is meritless because it relies on an untenable interpretation of con
            gressional intent and an overbroad view of an agency’s power to pre
            empt state law. The history of the FDCA shows that Congress did
            not intend to pre-empt state-law failure-to-warn actions. In advanc
            ing the argument that the FDA must be presumed to have estab
            lished a specific labeling standard that leaves no room for different
            state-law judgments, Wyeth relies not on any statement by Congress
            but on the preamble to a 2006 FDA regulation declaring that state
            law failure-to-warn claims threaten the FDA’s statutorily prescribed
            role. Although an agency regulation with the force of law can pre
            empt conflicting state requirements, this case involves no such regu
            lation but merely an agency’s assertion that state law is an obstacle
            to achieving its statutory objectives. Where, as here, Congress has
            not authorized a federal agency to pre-empt state law directly, the
            weight this Court accords the agency’s explanation of state law’s im
            pact on the federal scheme depends on its thoroughness, consistency,
            and persuasiveness. Cf., e.g., Skidmore v. Swift & Co., 323 U. S. 134.
            Under this standard, the FDA’s 2006 preamble does not merit defer
            ence: It is inherently suspect in light of the FDA’s failure to offer in
            terested parties notice or opportunity for comment on the pre
            emption question; it is at odds with the available evidence of Con
            gress’ purposes; and it reverses the FDA’s own longstanding position
            that state law is a complementary form of drug regulation without
            providing a reasoned explanation. Geier v. American Honda Motor
            Co., 529 U. S. 861, is distinguished. Pp. 17–25.
        ___ Vt. ___, 944 A. 2d 179, affirmed.

          STEVENS, J., delivered the opinion of the Court, in which KENNEDY,
        SOUTER, GINSBURG, and BREYER, JJ., joined. BREYER, J., filed a concur
        ring opinion. THOMAS, J., filed an opinion concurring in the judgment.
        ALITO, J., filed a dissenting opinion, in which ROBERTS, C. J., and
        SCALIA, J., joined.
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             NOTICE: This opinion is subject to formal revision before publication in the
             preliminary print of the United States Reports. Readers are requested to
             notify the Reporter of Decisions, Supreme Court of the United States, Wash
             ington, D. C. 20543, of any typographical or other formal errors, in order
             that corrections may be made before the preliminary print goes to press.


        SUPREME COURT OF THE UNITED STATES
                                           _________________

                                           No. 06–1249
                                           _________________


                 WYETH, PETITIONER v. DIANA LEVINE
            ON WRIT OF CERTIORARI TO THE SUPREME COURT OF
                              VERMONT
                                         [March 4, 2009]

           JUSTICE STEVENS delivered the opinion of the Court.
           Directly injecting the drug Phenergan into a patient’s
        vein creates a significant risk of catastrophic conse
        quences. A Vermont jury found that petitioner Wyeth, the
        manufacturer of the drug, had failed to provide an ade
        quate warning of that risk and awarded damages to re
        spondent Diana Levine to compensate her for the amputa
        tion of her arm. The warnings on Phenergan’s label had
        been deemed sufficient by the federal Food and Drug
        Administration (FDA) when it approved Wyeth’s new drug
        application in 1955 and when it later approved changes in
        the drug’s labeling. The question we must decide is
        whether the FDA’s approvals provide Wyeth with a com
        plete defense to Levine’s tort claims. We conclude that
        they do not.
                                    I
          Phenergan is Wyeth’s brand name for promethazine
        hydrochloride, an antihistamine used to treat nausea. The
        injectable form of Phenergan can be administered intra
        muscularly or intravenously, and it can be administered
        intravenously through either the “IV-push” method,
        whereby the drug is injected directly into a patient’s vein,
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        or the “IV-drip” method, whereby the drug is introduced
        into a saline solution in a hanging intravenous bag and
        slowly descends through a catheter inserted in a patient’s
        vein. The drug is corrosive and causes irreversible gan
        grene if it enters a patient’s artery.
           Levine’s injury resulted from an IV-push injection of
        Phenergan. On April 7, 2000, as on previous visits to her
        local clinic for treatment of a migraine headache, she
        received an intramuscular injection of Demerol for her
        headache and Phenergan for her nausea. Because the
        combination did not provide relief, she returned later that
        day and received a second injection of both drugs. This
        time, the physician assistant administered the drugs by
        the IV-push method, and Phenergan entered Levine’s
        artery, either because the needle penetrated an artery
        directly or because the drug escaped from the vein into
        surrounding tissue (a phenomenon called “perivascular
        extravasation”) where it came in contact with arterial
        blood. As a result, Levine developed gangrene, and doc
        tors amputated first her right hand and then her entire
        forearm. In addition to her pain and suffering, Levine
        incurred substantial medical expenses and the loss of her
        livelihood as a professional musician.
           After settling claims against the health center and
        clinician, Levine brought an action for damages against
        Wyeth, relying on common-law negligence and strict
        liability theories. Although Phenergan’s labeling warned
        of the danger of gangrene and amputation following inad
        vertent intra-arterial injection,1 Levine alleged that the
        ——————
          1 The warning for “Inadvertent Intra-arterial Injection” stated: “Due

        to the close proximity of arteries and veins in the areas most commonly
        used for intravenous injection, extreme care should be exercised to
        avoid perivascular extravasation or inadvertent intra-arterial injection.
        Reports compatible with inadvertent intra-arterial injection of Phener
        gan Injection, usually in conjunction with other drugs intended for
        intravenous use, suggest that pain, severe chemical irritation, severe
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        labeling was defective because it failed to instruct clini
        cians to use the IV-drip method of intravenous admini
        stration instead of the higher risk IV-push method. More
        broadly, she alleged that Phenergan is not reasonably safe
        for intravenous administration because the foreseeable
        risks of gangrene and loss of limb are great in relation to
        the drug’s therapeutic benefits. App. 14–15.
           Wyeth filed a motion for summary judgment, arguing
        that Levine’s failure-to-warn claims were pre-empted by
        federal law. The court found no merit in either Wyeth’s
        field pre-emption argument, which it has since abandoned,
        or its conflict pre-emption argument. With respect to the
        contention that there was an “actual conflict between a
        specific FDA order,” id., at 21, and Levine’s failure-to
        warn action, the court reviewed the sparse correspondence
        between Wyeth and the FDA about Phenergan’s labeling
        and found no evidence that Wyeth had “earnestly at
        tempted” to strengthen the intra-arterial injection warn
        ing or that the FDA had “specifically disallowed” stronger
        language, id., at 23. The record, as then developed,
        ——————
        spasm of distal vessels, and resultant gangrene requiring amputation
        are likely under such circumstances. Intravenous injection was in
        tended in all the cases reported but perivascular extravasation or
        arterial placement of the needle is now suspect. There is no proven
        successful management of this condition after it occurs. . . . Aspiration
        of dark blood does not preclude intra-arterial needle placement, be
        cause blood is discolored upon contact with Phenergan Injection. Use of
        syringes with rigid plungers or of small bore needles might obscure
        typical arterial backflow if this is relied upon alone. When used intra
        venously, Phenergan Injection should be given in a concentration no
        greater than 25 mg per mL and at a rate not to exceed 25 mg per
        minute. When administering any irritant drug intravenously, it is
        usually preferable to inject it through the tubing of an intravenous
        infusion set that is known to be functioning satisfactorily. In the event
        that a patient complains of pain during intended intravenous injection
        of Phenergan Injection, the injection should be stopped immediately to
        provide for evaluation of possible arterial placement or perivascular
        extravasation.” App. 390.
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        “lack[ed] any evidence that the FDA set a ceiling on this
        matter.” Ibid.
           The evidence presented during the 5-day jury trial
        showed that the risk of intra-arterial injection or perivas
        cular extravasation can be almost entirely eliminated
        through the use of IV-drip, rather than IV-push, admini
        stration. An IV drip is started with saline, which will not
        flow properly if the catheter is not in the vein and fluid is
        entering an artery or surrounding tissue. See id., at 50–
        51, 60, 66–68, 75. By contrast, even a careful and experi
        enced clinician using the IV-push method will occasionally
        expose an artery to Phenergan. See id., at 73, 75–76.
        While Phenergan’s labeling warned against intra-arterial
        injection and perivascular extravasation and advised that
        “[w]hen administering any irritant drug intravenously it is
        usually preferable to inject it through the tubing of an
        intravenous infusion set that is known to be function-
        ing satisfactorily,” id., at 390, the labeling did not con
        tain a specific warning about the risks of IV-push
        administration.
           The trial record also contains correspondence between
        Wyeth and the FDA discussing Phenergan’s label. The
        FDA first approved injectable Phenergan in 1955. In 1973
        and 1976, Wyeth submitted supplemental new drug appli
        cations, which the agency approved after proposing label
        ing changes. Wyeth submitted a third supplemental
        application in 1981 in response to a new FDA rule govern
        ing drug labels. Over the next 17 years, Wyeth and the
        FDA intermittently corresponded about Phenergan’s label.
        The most notable activity occurred in 1987, when the FDA
        suggested different warnings about the risk of arterial
        exposure, and in 1988, when Wyeth submitted revised
        labeling incorporating the proposed changes. The FDA did
        not respond. Instead, in 1996, it requested from Wyeth
        the labeling then in use and, without addressing Wyeth’s
        1988 submission, instructed it to “[r]etain verbiage in
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        current label” regarding intra-arterial injection. Id., at
        359. After a few further changes to the labeling not re
        lated to intra-arterial injection, the FDA approved Wyeth’s
        1981 application in 1998, instructing that Phenergan’s
        final printed label “must be identical” to the approved
        package insert. Id., at 382.
           Based on this regulatory history, the trial judge in
        structed the jury that it could consider evidence of Wyeth’s
        compliance with FDA requirements but that such compli
        ance did not establish that the warnings were adequate.
        He also instructed, without objection from Wyeth, that
        FDA regulations “permit a drug manufacturer to change a
        product label to add or strengthen a warning about its
        product without prior FDA approval so long as it later
        submits the revised warning for review and approval.”
        Id., at 228.
           Answering questions on a special verdict form, the jury
        found that Wyeth was negligent, that Phenergan was a
        defective product as a result of inadequate warnings and
        instructions, and that no intervening cause had broken
        the causal connection between the product defects and the
        plaintiff’s injury. Id., at 233–235. It awarded total dam
        ages of $7,400,000, which the court reduced to account for
        Levine’s earlier settlement with the health center and
        clinician. Id., at 235–236.
           On August 3, 2004, the trial court filed a comprehensive
        opinion denying Wyeth’s motion for judgment as a matter
        of law. After making findings of fact based on the trial
        record (supplemented by one letter that Wyeth found after
        the trial), the court rejected Wyeth’s pre-emption argu
        ments. It determined that there was no direct conflict
        between FDA regulations and Levine’s state-law claims
        because those regulations permit strengthened warnings
        without FDA approval on an interim basis and the record
        contained evidence of at least 20 reports of amputations
        similar to Levine’s since the 1960’s. The court also found
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        that state tort liability in this case would not obstruct the
        FDA’s work because the agency had paid no more than
        passing attention to the question whether to warn against
        IV-push administration of Phenergan. In addition, the
        court noted that state law serves a compensatory function
        distinct from federal regulation. Id., at 249–252.
           The Vermont Supreme Court affirmed. It held that the
        jury’s verdict “did not conflict with FDA’s labeling re
        quirements for Phenergan because [Wyeth] could have
        warned against IV-push administration without prior
        FDA approval, and because federal labeling requirements
        create a floor, not a ceiling, for state regulation.” ___ Vt.
        ___, ___ 944 A. 2d 179, 184 (2006). In dissent, Chief Jus
        tice Reiber argued that the jury’s verdict conflicted with
        federal law because it was inconsistent with the FDA’s
        conclusion that intravenous administration of Phenergan
        was safe and effective.
           The importance of the pre-emption issue, coupled with
        the fact that the FDA has changed its position on state
        tort law and now endorses the views expressed in Chief
        Justice Reiber’s dissent, persuaded us to grant Wyeth’s
        petition for certiorari. 552 U. S. ___ (2008). The question
        presented by the petition is whether the FDA’s drug label
        ing judgments “preempt state law product liability claims
        premised on the theory that different labeling judgments
        were necessary to make drugs reasonably safe for use.”
        Pet. for Cert. i.
                                    II
           Wyeth makes two separate pre-emption arguments:
        first, that it would have been impossible for it to comply
        with the state-law duty to modify Phenergan’s labeling
        without violating federal law, see Fidelity Fed. Sav. &
        Loan Assn. v. De la Cuesta, 458 U. S. 141, 153 (1982), and
        second, that recognition of Levine’s state tort action cre
        ates an unacceptable “obstacle to the accomplishment and
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         execution of the full purposes and objectives of Congress,”
         Hines v. Davidowitz, 312 U. S. 52, 67 (1941), because it
         substitutes a lay jury’s decision about drug labeling for the
         expert judgment of the FDA. As a preface to our evalua
         tion of these arguments, we identify two factual proposi
         tions decided during the trial court proceedings, empha
         size two legal principles that guide our analysis, and
         review the history of the controlling federal statute.
            The trial court proceedings established that Levine’s
         injury would not have occurred if Phenergan’s label had
         included an adequate warning about the risks of the IV
         push method of administering the drug. The record con
         tains evidence that the physician assistant administered a
         greater dose than the label prescribed, that she may have
         inadvertently injected the drug into an artery rather than
         a vein, and that she continued to inject the drug after
         Levine complained of pain. Nevertheless, the jury rejected
         Wyeth’s argument that the clinician’s conduct was an
         intervening cause that absolved it of liability. See App.
         234 (jury verdict), 252–254. In finding Wyeth negligent as
         well as strictly liable, the jury also determined that Le
         vine’s injury was foreseeable. That the inadequate label
         was both a but-for and proximate cause of Levine’s injury
         is supported by the record and no longer challenged by
         Wyeth.2
            The trial court proceedings further established that the
         critical defect in Phenergan’s label was the lack of an
         adequate warning about the risks of IV-push administra
         ——————
           2 The dissent nonetheless suggests that physician malpractice was
         the exclusive cause of Levine’s injury. See, e.g., post, at 1 (opinion of
         ALITO, J.) (“[I]t is unclear how a ‘stronger’ warning could have helped
         respondent”); post, at 16–18 (suggesting that the physician assistant’s
         conduct was the sole cause of the injury). The dissent’s frustration with
         the jury’s verdict does not put the merits of Levine’s tort claim before
         us, nor does it change the question we must decide—whether federal
         law pre-empts Levine’s state-law claims.
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         tion. Levine also offered evidence that the IV-push
         method should be contraindicated and that Phenergan
         should never be administered intravenously, even by the
         IV-drip method. Perhaps for this reason, the dissent
         incorrectly assumes that the state-law duty at issue is the
         duty to contraindicate the IV-push method. See, e.g., post,
         at 8, 25. But, as the Vermont Supreme Court explained,
         the jury verdict established only that Phenergan’s warn
         ing was insufficient. It did not mandate a particular
         replacement warning, nor did it require contraindicating
         IV-push administration: “There may have been any num
         ber of ways for [Wyeth] to strengthen the Phenergan
         warning without completely eliminating IV-push admini
         stration.” ___ Vt., at ___, n. 2, 944 A. 2d, at 189, n. 2. We
         therefore need not decide whether a state rule proscribing
         intravenous administration would be pre-empted. The
         narrower question presented is whether federal law pre
         empts Levine’s claim that Phenergan’s label did not con
         tain an adequate warning about using the IV-push method
         of administration.
            Our answer to that question must be guided by two
         cornerstones of our pre-emption jurisprudence. First, “the
         purpose of Congress is the ultimate touchstone in every
         pre-emption case.” Medtronic, Inc. v. Lohr, 518 U. S. 470,
         485 (1996) (internal quotation marks omitted); see Retail
         Clerks v. Schermerhorn, 375 U. S. 96, 103 (1963). Second,
         “[i]n all pre-emption cases, and particularly in those in
         which Congress has ‘legislated . . . in a field which the
         States have traditionally occupied,’ . . . we ‘start with the
         assumption that the historic police powers of the States
         were not to be superseded by the Federal Act unless that
         was the clear and manifest purpose of Congress.’ ” Lohr,
         518 U. S., at 485 (quoting Rice v. Santa Fe Elevator Corp.,
         331 U. S. 218, 230 (1947)).3
         ——————
             3 Wyeth   argues that the presumption against pre-emption should not
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            In order to identify the “purpose of Congress,” it is ap
         propriate to briefly review the history of federal regulation
         of drugs and drug labeling. In 1906, Congress enacted its
         first significant public health law, the Federal Food and
         Drugs Act, ch. 3915, 34 Stat. 768. The Act, which prohib
         ited the manufacture or interstate shipment of adulter
         ated or misbranded drugs, supplemented the protection
         for consumers already provided by state regulation and
         common-law liability. In the 1930’s, Congress became
         increasingly concerned about unsafe drugs and fraudulent
         marketing, and it enacted the Federal Food, Drug, and
         Cosmetic Act (FDCA), ch. 675, 52 Stat. 1040, as amended,
         21 U. S. C. §301 et seq. The Act’s most substantial innova
         tion was its provision for premarket approval of new
         drugs. It required every manufacturer to submit a new
         drug application, including reports of investigations and
         specimens of proposed labeling, to the FDA for review.
         Until its application became effective, a manufacturer was

         ——————
         apply to this case because the Federal Government has regulated drug
         labeling for more than a century. That argument misunderstands the
         principle: We rely on the presumption because respect for the States as
         “independent sovereigns in our federal system” leads us to assume that
         “Congress does not cavalierly pre-empt state-law causes of action.”
         Medtronic, Inc. v. Lohr, 518 U. S. 470, 485 (1996). The presumption
         thus accounts for the historic presence of state law but does not rely on
         the absence of federal regulation.
           For its part, the dissent argues that the presumption against pre
         emption should not apply to claims of implied conflict pre-emption at
         all, post, at 21, but this Court has long held to the contrary. See, e.g.,
         California v. ARC America Corp., 490 U. S. 93, 101–102 (1989); Hills
         borough County v. Automated Medical Laboratories, Inc., 471 U. S. 707,
         716 (1985); see also Rush Prudential HMO, Inc. v. Moran, 536 U. S.
         355, 387 (2002). The dissent’s reliance on Buckman Co. v. Plaintiffs’
         Legal Comm., 531 U. S. 341 (2001), see post, at 21, and n. 14, is espe
         cially curious, as that case involved state-law fraud-on-the-agency
         claims, and the Court distinguished state regulation of health and
         safety as matters to which the presumption does apply. See 531 U. S.,
         at 347–348.
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         prohibited from distributing a drug. The FDA could reject
         an application if it determined that the drug was not safe
         for use as labeled, though if the agency failed to act, an
         application became effective 60 days after the filing.
         FDCA, §505(c), 52 Stat. 1052.
            In 1962, Congress amended the FDCA and shifted the
         burden of proof from the FDA to the manufacturer. Before
         1962, the agency had to prove harm to keep a drug out of
         the market, but the amendments required the manufac
         turer to demonstrate that its drug was “safe for use under
         the conditions prescribed, recommended, or suggested in
         the proposed labeling” before it could distribute the drug.
         §§102(d), 104(b), 76 Stat. 781, 784. In addition, the
         amendments required the manufacturer to prove the
         drug’s effectiveness by introducing “substantial evidence
         that the drug will have the effect it purports or is repre
         sented to have under the conditions of use prescribed,
         recommended, or suggested in the proposed labeling.”
         §102(d), id., at 781.
            As it enlarged the FDA’s powers to “protect the public
         health” and “assure the safety, effectiveness, and reliabil
         ity of drugs,” id., at 780, Congress took care to preserve
         state law. The 1962 amendments added a saving clause,
         indicating that a provision of state law would only be
         invalidated upon a “direct and positive conflict” with the
         FDCA. §202, id., at 793. Consistent with that provision,
         state common-law suits “continued unabated despite . . .
         FDA regulation.” Riegel v. Medtronic, Inc., 552 U. S. ___,
         ___ (2008) (slip op., at 8) (GINSBURG, J., dissenting); see
         ibid., n. 11 (collecting state cases). And when Congress
         enacted an express pre-emption provision for medical
         devices in 1976, see §521, 90 Stat. 574 (codified at 21
         U. S. C. §360k(a)), it declined to enact such a provision for
         prescription drugs.
            In 2007, after Levine’s injury and lawsuit, Congress
         again amended the FDCA. 121 Stat. 823. For the first
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         time, it granted the FDA statutory authority to require a
         manufacturer to change its drug label based on safety
         information that becomes available after a drug’s initial
         approval. §901(a), id., at 924–926. In doing so, however,
         Congress did not enact a provision in the Senate bill that
         would have required the FDA to preapprove all changes to
         drug labels. See S. 1082, 110th Cong., 1st Sess., §208,
         pp. 107–114 (2007) (as passed) (proposing new §506D).
         Instead, it adopted a rule of construction to make it clear
         that manufacturers remain responsible for updating their
         labels. See 121 Stat. 925–926.
                                      III
           Wyeth first argues that Levine’s state-law claims are
         pre-empted because it is impossible for it to comply with
         both the state-law duties underlying those claims and its
         federal labeling duties. See De la Cuesta, 458 U. S., at
         153. The FDA’s premarket approval of a new drug appli
         cation includes the approval of the exact text in the pro
         posed label. See 21 U. S. C. §355; 21 CFR §314.105(b)
         (2008). Generally speaking, a manufacturer may only
         change a drug label after the FDA approves a supplemen
         tal application. There is, however, an FDA regulation that
         permits a manufacturer to make certain changes to its
         label before receiving the agency’s approval. Among other
         things, this “changes being effected” (CBE) regulation
         provides that if a manufacturer is changing a label to “add
         or strengthen a contraindication, warning, precaution, or
         adverse reaction” or to “add or strengthen an instruction
         about dosage and administration that is intended to in
         crease the safe use of the drug product,” it may make the
         labeling change upon filing its supplemental application
         with the FDA; it need not wait for FDA approval.
         §§314.70(c)(6)(iii)(A), (C).
           Wyeth argues that the CBE regulation is not implicated
         in this case because a 2008 amendment provides that a
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         manufacturer may only change its label “to reflect newly
         acquired information.” 73 Fed. Reg. 49609. Resting on
         this language (which Wyeth argues simply reaffirmed the
         interpretation of the regulation in effect when this case
         was tried), Wyeth contends that it could have changed
         Phenergan’s label only in response to new information
         that the FDA had not considered. And it maintains that
         Levine has not pointed to any such information concerning
         the risks of IV-push administration. Thus, Wyeth insists,
         it was impossible for it to discharge its state-law obliga
         tion to provide a stronger warning about IV-push admini
         stration without violating federal law. Wyeth’s argument
         misapprehends both the federal drug regulatory scheme
         and its burden in establishing a pre-emption defense.
            We need not decide whether the 2008 CBE regulation is
         consistent with the FDCA and the previous version of the
         regulation, as Wyeth and the United States urge, because
         Wyeth could have revised Phenergan’s label even in accor
         dance with the amended regulation. As the FDA ex
         plained in its notice of the final rule, “ ‘newly acquired
         information’ ” is not limited to new data, but also encom
         passes “new analyses of previously submitted data.” Id.,
         at 49604. The rule accounts for the fact that risk informa
         tion accumulates over time and that the same data may
         take on a different meaning in light of subsequent devel
         opments: “[I]f the sponsor submits adverse event informa
         tion to FDA, and then later conducts a new analysis of
         data showing risks of a different type or of greater severity
         or frequency than did reports previously submitted to
         FDA, the sponsor meets the requirement for ‘newly ac
         quired information.’ ” Id., at 49607; see also id., at 49606.
            The record is limited concerning what newly acquired
         information Wyeth had or should have had about the risks
         of IV-push administration of Phenergan because Wyeth
         did not argue before the trial court that such information
         was required for a CBE labeling change. Levine did,
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         however, present evidence of at least 20 incidents prior to
         her injury in which a Phenergan injection resulted in
         gangrene and an amputation. See App. 74, 252.4 After
         the first such incident came to Wyeth’s attention in 1967,
         it notified the FDA and worked with the agency to change
         Phenergan’s label. In later years, as amputations contin
         ued to occur, Wyeth could have analyzed the accumulating
         data and added a stronger warning about IV-push admini
         stration of the drug.
            Wyeth argues that if it had unilaterally added such a
         warning, it would have violated federal law governing
         unauthorized distribution and misbranding. Its argument
         that a change in Phenergan’s labeling would have sub
         jected it to liability for unauthorized distribution rests on
         the assumption that this labeling change would have
         rendered Phenergan a new drug lacking an effective appli
         cation. But strengthening the warning about IV-push
         administration would not have made Phenergan a new
         drug. See 21 U. S. C. §321(p)(1) (defining “new drug”); 21
         CFR §310.3(h). Nor would this warning have rendered
         Phenergan misbranded. The FDCA does not provide that
         a drug is misbranded simply because the manufacturer
         has altered an FDA-approved label; instead, the misbrand
         ing provision focuses on the substance of the label and,
         among other things, proscribes labels that fail to include
         “adequate warnings.” 21 U. S. C. §352(f). Moreover,
         because the statute contemplates that federal juries will
         resolve most misbranding claims, the FDA’s belief that a
         drug is misbranded is not conclusive. See §§331, 332,
         334(a)–(b). And the very idea that the FDA would bring
         an enforcement action against a manufacturer for

         ——————
           4 Levine also introduced evidence that Pfizer had withdrawn Vistaril,
         another antinausea drug, from intravenous use several decades earlier
         because its intravenous injection had resulted in gangrene and ampu
         tations. See App. 79.
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         strengthening a warning pursuant to the CBE regulation
         is difficult to accept—neither Wyeth nor the United States
         has identified a case in which the FDA has done so.
            Wyeth’s cramped reading of the CBE regulation and its
         broad reading of the FDCA’s misbranding and unauthor
         ized distribution provisions are premised on a more fun
         damental misunderstanding. Wyeth suggests that the
         FDA, rather than the manufacturer, bears primary re
         sponsibility for drug labeling. Yet through many amend
         ments to the FDCA and to FDA regulations, it has re
         mained a central premise of federal drug regulation that
         the manufacturer bears responsibility for the content of its
         label at all times. It is charged both with crafting an
         adequate label and with ensuring that its warnings re
         main adequate as long as the drug is on the market. See,
         e.g., 21 CFR §201.80(e) (requiring a manufacturer to re
         vise its label “to include a warning as soon as there is
         reasonable evidence of an association of a serious hazard
         with a drug”); §314.80(b) (placing responsibility for post
         marketing surveillance on the manufacturer); 73 Fed. Reg.
         49605 (“Manufacturers continue to have a responsibility
         under Federal law . . . to maintain their labeling and
         update the labeling with new safety information”).
            Indeed, prior to 2007, the FDA lacked the authority to
         order manufacturers to revise their labels. See 121 Stat.
         924–926. When Congress granted the FDA this authority,
         it reaffirmed the manufacturer’s obligations and referred
         specifically to the CBE regulation, which both reflects the
         manufacturer’s ultimate responsibility for its label and
         provides a mechanism for adding safety information to the
         label prior to FDA approval. See id., at 925–926 (stating
         that a manufacturer retains the responsibility “to main
         tain its label in accordance with existing requirements,
         including subpart B of part 201 and sections 314.70 and
         601.12 of title 21, Code of Federal Regulations (or any
         successor regulations)” (emphasis added)). Thus, when
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         the risk of gangrene from IV-push injection of Phenergan
         became apparent, Wyeth had a duty to provide a warning
         that adequately described that risk, and the CBE regula
         tion permitted it to provide such a warning before receiv
         ing the FDA’s approval.
            Of course, the FDA retains authority to reject labeling
         changes made pursuant to the CBE regulation in its re
         view of the manufacturer’s supplemental application, just
         as it retains such authority in reviewing all supplemental
         applications. But absent clear evidence that the FDA
         would not have approved a change to Phenergan’s label,
         we will not conclude that it was impossible for Wyeth to
         comply with both federal and state requirements.
            Wyeth has offered no such evidence. It does not argue
         that it attempted to give the kind of warning required by
         the Vermont jury but was prohibited from doing so by the
         FDA.5 See Tr. of Oral Arg. 12–13; see also Brief for United
         States as Amicus Curiae 25. And while it does suggest
         that the FDA intended to prohibit it from strengthening
         the warning about IV-push administration because the
         ——————
           5 The record would not, in any event, support such an argument. In
         1988, Wyeth did propose different language for Phenergan’s warning
         about intra-arterial injection, adapted from revisions the FDA proposed
         in 1987. See App. 339–341, 311–312. When the FDA approved Wyeth’s
         application, it instructed Wyeth to retain the wording in its current
         label. During the trial court proceedings, Levine indicated that the
         language proposed in 1988 would have more strongly warned against
         IV-push administration. But the trial court and the Vermont Supreme
         Court found that the 1988 warning did not differ in any material
         respect from the FDA-approved warning. See ___ Vt. ___, ___, 944
         A. 2d 179, 189 (2006) (“Simply stated, the proposed warning was
         different, but not stronger. It was also no longer or more prominent
         than the original warning . . .”); App. 248–250. Indeed, the United
         States concedes that the FDA did not regard the proposed warning as
         substantively different: “[I]t appears the FDA viewed the change as
         non-substantive and rejected it for formatting reasons.” Brief for
         United States as Amicus Curiae 25; see also ___ Vt., at ___, 944 A. 2d,
         at 189.
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         agency deemed such a warning inappropriate in reviewing
         Phenergan’s drug applications, both the trial court and the
         Vermont Supreme Court rejected this account as a matter
         of fact. In its decision on Wyeth’s motion for judgment as
         a matter of law, the trial court found “no evidence in this
         record that either the FDA or the manufacturer gave more
         than passing attention to the issue of” IV-push versus IV
         drip administration. App. 249. The Vermont Supreme
         Court likewise concluded that the FDA had not made an
         affirmative decision to preserve the IV-push method or
         intended to prohibit Wyeth from strengthening its warn
         ing about IV-push administration. ___ Vt., at ___, 944
         A. 2d, at 188–189. Moreover, Wyeth does not argue that it
         supplied the FDA with an evaluation or analysis concern
         ing the specific dangers posed by the IV-push method. We
         accordingly cannot credit Wyeth’s contention that the FDA
         would have prevented it from adding a stronger warning
         about the IV-push method of intravenous administration.6
            Impossibility pre-emption is a demanding defense. On
         the record before us, Wyeth has failed to demonstrate that
         it was impossible for it to comply with both federal and
         state requirements. The CBE regulation permitted Wyeth
         to unilaterally strengthen its warning, and the mere fact
         that the FDA approved Phenergan’s label does not estab
         lish that it would have prohibited such a change.


         ——————
           6 The dissent’s suggestion that the FDA intended to prohibit Wyeth

         from strengthening its warning does not fairly reflect the record. The
         dissent creatively paraphrases a few FDA orders—for instance by
         conflating warnings about IV-push administration and intra-arterial
         injection, see, e.g., post, at 9, 11–12, 15–16—to suggest greater agency
         attention to the question, and it undertakes a study of Phenergan’s
         labeling that is more elaborate than any FDA order. But even the
         dissent’s account does not support the conclusion that the FDA would
         have prohibited Wyeth from adding a stronger warning pursuant to the
         CBE regulation.
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                                       IV
            Wyeth also argues that requiring it to comply with a
         state-law duty to provide a stronger warning about IV
         push administration would obstruct the purposes and
         objectives of federal drug labeling regulation. Levine’s tort
         claims, it maintains, are pre-empted because they inter
         fere with “Congress’s purpose to entrust an expert agency
         to make drug labeling decisions that strike a balance
         between competing objectives.” Brief for Petitioner 46.
         We find no merit in this argument, which relies on an
         untenable interpretation of congressional intent and an
         overbroad view of an agency’s power to pre-empt state law.
            Wyeth contends that the FDCA establishes both a floor
         and a ceiling for drug regulation: Once the FDA has ap
         proved a drug’s label, a state-law verdict may not deem
         the label inadequate, regardless of whether there is any
         evidence that the FDA has considered the stronger warn
         ing at issue. The most glaring problem with this argu
         ment is that all evidence of Congress’ purposes is to the
         contrary. Building on its 1906 Act, Congress enacted the
         FDCA to bolster consumer protection against harmful
         products. See Kordel v. United States, 335 U. S. 345, 349
         (1948); United States v. Sullivan, 332 U. S. 689, 696
         (1948). Congress did not provide a federal remedy for
         consumers harmed by unsafe or ineffective drugs in the
         1938 statute or in any subsequent amendment. Evidently,
         it determined that widely available state rights of action
         provided appropriate relief for injured consumers.7 It may
         ——————
           7 Although  the first version of the bill that became the FDCA would
         have provided a federal cause of action for damages for injured consum
         ers, see H. R. 6110, 73d Cong., 1st Sess., §25 (1933) (as introduced),
         witnesses testified that such a right of action was unnecessary because
         common-law claims were already available under state law. See
         Hearings on S. 1944 before a Subcommittee of the Senate Committee
         on Commerce, 73d Cong., 2d Sess., 400 (1933) (statement of W. A.
         Hines); see id., at 403 (statement of J. A. Ladds) (“This act should not
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         also have recognized that state-law remedies further
         consumer protection by motivating manufacturers to
         produce safe and effective drugs and to give adequate
         warnings.
            If Congress thought state-law suits posed an obstacle to
         its objectives, it surely would have enacted an express pre
         emption provision at some point during the FDCA’s 70
         year history. But despite its 1976 enactment of an express
         pre-emption provision for medical devices, see §521, 90
         Stat. 574 (codified at 21 U. S. C. §360k(a)), Congress has
         not enacted such a provision for prescription drugs. See
         Riegel, 552 U. S., at ___ (slip op., at 14) (“Congress could
         have applied the pre-emption clause to the entire FDCA.
         It did not do so, but instead wrote a pre-emption clause
         that applies only to medical devices”).8 Its silence on the
         issue, coupled with its certain awareness of the prevalence
         of state tort litigation, is powerful evidence that Congress
         did not intend FDA oversight to be the exclusive means of
         ensuring drug safety and effectiveness.          As Justice
         O’Connor explained in her opinion for a unanimous Court:
         “The case for federal pre-emption is particularly weak
         where Congress has indicated its awareness of the opera
         tion of state law in a field of federal interest, and has
         nonetheless decided to stand by both concepts and to
         tolerate whatever tension there [is] between them.” Bo
         nito Boats, Inc. v. Thunder Craft Boats, Inc., 489 U. S. 141,
         166–167 (1989) (internal quotation marks omitted); see
         also supra, at 8 (discussing the presumption against pre
         ——————
         attempt to modify or restate the common law with respect to personal
         injuries”).
           8 In 1997, Congress pre-empted certain state requirements concerning

         over-the-counter medications and cosmetics but expressly preserved
         product liability actions. See 21 U. S. C. §§379r(e), 379s(d) (“Nothing in
         this section shall be construed to modify or otherwise affect any action
         or the liability of any person under the product liability law of any
         State”).
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         emption).
            Despite this evidence that Congress did not regard state
         tort litigation as an obstacle to achieving its purposes,
         Wyeth nonetheless maintains that, because the FDCA
         requires the FDA to determine that a drug is safe and
         effective under the conditions set forth in its labeling, the
         agency must be presumed to have performed a precise
         balancing of risks and benefits and to have established a
         specific labeling standard that leaves no room for different
         state-law judgments. In advancing this argument, Wyeth
         relies not on any statement by Congress, but instead on
         the preamble to a 2006 FDA regulation governing the
         content and format of prescription drug labels. See Brief
         for Petitioner 8, 11, 42, 45, and 50 (citing 71 Fed. Reg.
         3922 (2006)). In that preamble, the FDA declared that the
         FDCA establishes “both a ‘floor’ and a ‘ceiling,’ ” so that
         “FDA approval of labeling . . . preempts conflicting or
         contrary State law.” Id., at 3934–3935. It further stated
         that certain state-law actions, such as those involving
         failure-to-warn claims, “threaten FDA’s statutorily pre
         scribed role as the expert Federal agency responsible for
         evaluating and regulating drugs.” Id., at 3935.
            This Court has recognized that an agency regulation
         with the force of law can pre-empt conflicting state re
         quirements. See, e.g., Geier v. American Honda Motor Co.,
         529 U. S. 861 (2000); Hillsborough County v. Automated
         Medical Laboratories, Inc., 471 U. S. 707, 713 (1985). In
         such cases, the Court has performed its own conflict de
         termination, relying on the substance of state and federal
         law and not on agency proclamations of pre-emption. We
         are faced with no such regulation in this case, but rather
         with an agency’s mere assertion that state law is an obsta
         cle to achieving its statutory objectives. Because Congress
         has not authorized the FDA to pre-empt state law directly,
         cf. 21 U. S. C. §360k (authorizing the FDA to determine
         the scope of the Medical Devices Amendments’ pre-emption
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         clause),9 the question is what weight we should accord the
         FDA’s opinion.
           In prior cases, we have given “some weight” to an
         agency’s views about the impact of tort law on federal
         objectives when “the subject matter is technica[l] and the
         relevant history and background are complex and exten
         sive.” Geier, 529 U. S., at 883. Even in such cases, how
         ever, we have not deferred to an agency’s conclusion that
         state law is pre-empted. Rather, we have attended to an
         agency’s explanation of how state law affects the regula
         tory scheme. While agencies have no special authority to
         pronounce on pre-emption absent delegation by Congress,
         they do have a unique understanding of the statutes they
         administer and an attendant ability to make informed
         determinations about how state requirements may pose an
         “obstacle to the accomplishment and execution of the full
         purposes and objectives of Congress.” Hines, 312 U.S, at
         67; see Geier, 529 U. S., at 883; Lohr, 518 U. S., at 495–
         496. The weight we accord the agency’s explanation of
         state law’s impact on the federal scheme depends on its
         thoroughness, consistency, and persuasiveness.          Cf.
         United States v. Mead Corp., 533 U. S. 218, 234–235
         (2001); Skidmore v. Swift & Co., 323 U. S. 134, 140 (1944).
           Under this standard, the FDA’s 2006 preamble does not
         merit deference. When the FDA issued its notice of pro
         ——————
            9 For similar examples, see 47 U. S. C. §§253(a), (d) (2000 ed.) (au

         thorizing the Federal Communications Commission to pre-empt “any
         [state] statute, regulation, or legal requirement” that “may prohibit or
         have the effect of prohibiting the ability of any entity to provide any
         interstate or intrastate telecommunications service”); 30 U. S. C.
         §1254(g) (2006 ed.) (pre-empting any statute that conflicts with “the
         purposes and the requirements of this chapter” and permitting the
         Secretary of the Interior to “set forth any State law or regulation which
         is preempted and superseded”); and 49 U. S. C. §5125(d) (2000 ed. and
         Supp. V) (authorizing the Secretary of Transportation to decide
         whether a state or local statute that conflicts with the regulation of
         hazardous waste transportation is pre-empted).
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         posed rulemaking in December 2000, it explained that the
         rule would “not contain policies that have federalism
         implications or that preempt State law.” 65 Fed. Reg.
         81103; see also 71 id., at 3969 (noting that the “proposed
         rule did not propose to preempt state law”). In 2006, the
         agency finalized the rule and, without offering States or
         other interested parties notice or opportunity for com
         ment, articulated a sweeping position on the FDCA’s pre
         emptive effect in the regulatory preamble. The agency’s
         views on state law are inherently suspect in light of this
         procedural failure.
           Further, the preamble is at odds with what evidence we
         have of Congress’ purposes, and it reverses the FDA’s own
         longstanding position without providing a reasoned expla
         nation, including any discussion of how state law has
         interfered with the FDA’s regulation of drug labeling
         during decades of coexistence. The FDA’s 2006 position
         plainly does not reflect the agency’s own view at all times
         relevant to this litigation. Not once prior to Levine’s
         injury did the FDA suggest that state tort law stood as an
         obstacle to its statutory mission. To the contrary, it cast
         federal labeling standards as a floor upon which States
         could build and repeatedly disclaimed any attempt to pre
         empt failure-to-warn claims. For instance, in 1998, the
         FDA stated that it did “not believe that the evolution of
         state tort law [would] cause the development of standards
         that would be at odds with the agency’s regulations.” 63
         id., at 66384. It further noted that, in establishing “mini
         mal standards” for drug labels, it did not intend “to pre
         clude the states from imposing additional labeling re
         quirements.” Ibid.10
         ——————
           10 See also 44 Fed. Reg. 37437 (1979) (“It is not the intent of the FDA

         to influence the civil tort liability of the manufacturer”); 59 Fed. Reg.
         3948 (1994) (“[P]roduct liability plays an important role in consumer
         protection”); Porter, The Lohr Decision: FDA Perspective and Position,
         52 Food & Drug L. J. 7, 10 (1997) (former chief counsel to the FDA
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           In keeping with Congress’ decision not to pre-empt
         common-law tort suits, it appears that the FDA tradition
         ally regarded state law as a complementary form of drug
         regulation. The FDA has limited resources to monitor the
         11,000 drugs on the market,11 and manufacturers have
         superior access to information about their drugs, espe
         cially in the postmarketing phase as new risks emerge.
         ——————
         stating that the FDA regarded state law as complementing the agency’s
         mission of consumer protection).
           11 In 1955, the same year that the agency approved Wyeth’s Phener

         gan application, an FDA advisory committee issued a report finding
         “conclusively” that “the budget and staff of the Food and Drug Admini
         stration are inadequate to permit the discharge of its existing responsi
         bilities for the protection of the American public.” Citizens Advisory
         Committee on the FDA, Report to the Secretary of Health, Education,
         and Welfare, H. R. Doc. No. 227, 84th Cong., 1st Sess., 53. Three recent
         studies have reached similar conclusions. See FDA Science Board,
         Report of the Subcommittee on Science and Technology: FDA Science
         and Mission at Risk 2, 6 (2007), online at http://www.fda.gov/ohrms/
         dockets/ac/07/briefing/2007-4329b_02_01_FDA%20Report%20on%20Sci
         ence%20and%20Technology.pdf (all Internet materials as visited Feb.
         23, 2009, and available in Clerk of Court’s case file) (“[T]he Agency
         suffers from serious scientific deficiencies and is not positioned to meet
         current or emerging regulatory responsibilities”); National Academies,
         Institute of Medicine, The Future of Drug Safety: Promoting and
         Protecting the Health of the Public 193–194 (2007) (“The [FDA] lacks
         the resources needed to accomplish its large and complex mission . . . .
         There is widespread agreement that resources for postmarketing drug
         safety work are especially inadequate and that resource limitations
         have hobbled the agency’s ability to improve and expand this essential
         component of its mission”); GAO, Drug Safety: Improvement Needed in
         FDA’s Postmarket Decision-making and Oversight Process 5 (GAO–06–
         402, 2006), http://www.gao.gov/new.items/d06402.pdf (“FDA lacks a
         clear and effective process for making decisions about, and providing
         management oversight of, postmarket safety issues”); see also House
         Committee on Oversight and Government Reform, Majority Staff
         Report, FDA Career Staff Objected to Agency Preemption Policies 4
         (2008) (“[T]he Office of Chief Counsel ignored the warnings from FDA
         scientists and career officials that the preemption language [of the 2006
         preamble] was based on erroneous assertions about the ability of the
         drug approval process to ensure accurate and up-to-date drug labels”).
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         State tort suits uncover unknown drug hazards and pro
         vide incentives for drug manufacturers to disclose safety
         risks promptly. They also serve a distinct compensatory
         function that may motivate injured persons to come for
         ward with information. Failure-to-warn actions, in par
         ticular, lend force to the FDCA’s premise that manufac
         turers, not the FDA, bear primary responsibility for their
         drug labeling at all times. Thus, the FDA long maintained
         that state law offers an additional, and important, layer of
         consumer protection that complements FDA regulation.12
         The agency’s 2006 preamble represents a dramatic change
         in position.
            Largely based on the FDA’s new position, Wyeth argues
         that this case presents a conflict between state and federal
         law analogous to the one at issue in Geier. There, we held
         that state tort claims premised on Honda’s failure to
         install airbags conflicted with a federal regulation that did
         not require airbags for all cars. The Department of
         Transportation (DOT) had promulgated a rule that pro
         vided car manufacturers with a range of choices among
         passive restraint devices. Geier, 529 U. S., at 875. Reject
         ing an “ ‘all airbag’ ” standard, the agency had called for a
         gradual phase-in of a mix of passive restraints in order to
         spur technological development and win consumer accep
         tance. Id., at 879. Because the plaintiff’s claim was that
         car manufacturers had a duty to install airbags, it pre
         sented an obstacle to achieving “the variety and mix of
         devices that the federal regulation sought.” Id., at 881.
         ——————
           12 See generally Brief for Former FDA Commissioners Drs. Donald
         Kennedy and David Kessler as Amici Curiae; see also Kessler &
         Vladeck, A Critical Examination of the FDA’s Efforts To Preempt
         Failure-To-Warn Claims, 96 Geo. L. J. 461, 463 (2008); Bates v. Dow
         Agrosciences LLC, 544 U. S. 431, 451 (2005) (noting that state tort suits
         “can serve as a catalyst” by aiding in the exposure of new dangers and
         prompting a manufacturer or the federal agency to decide that a
         revised label is required).
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            Wyeth and the dissent contend that the regulatory
         scheme in this case is nearly identical, but, as we have
         described, it is quite different. In Geier, the DOT con
         ducted a formal rulemaking and then adopted a plan to
         phase in a mix of passive restraint devices. Examining
         the rule itself and the DOT’s contemporaneous record,
         which revealed the factors the agency had weighed and
         the balance it had struck, we determined that state tort
         suits presented an obstacle to the federal scheme. After
         conducting our own pre-emption analysis, we considered
         the agency’s explanation of how state law interfered with
         its regulation, regarding it as further support for our
         independent conclusion that the plaintiff’s tort claim
         obstructed the federal regime.
            By contrast, we have no occasion in this case to consider
         the pre-emptive effect of a specific agency regulation
         bearing the force of law. And the FDA’s newfound opin
         ion, expressed in its 2006 preamble, that state law “frus
         trate[s] the agency’s implementation of its statutory man
         date,” 71 Fed. Reg. 3934, does not merit deference for the
         reasons we have explained.13 Indeed, the “complex and
         extensive” regulatory history and background relevant to
         this case, Geier, 529 U. S., at 883, undercut the FDA’s
         recent pronouncements of pre-emption, as they reveal the
         longstanding coexistence of state and federal law and the
         FDA’s traditional recognition of state-law remedies—a
         recognition in place each time the agency reviewed
         Wyeth’s Phenergan label.14
         ——————
           13 The United States’ amicus brief is similarly undeserving of defer
         ence. Unlike the Government’s brief in Geier v. American Honda Motor
         Co., 529 U. S. 861 (2000), which explained the effects of state law on the
         DOT’s regulation in a manner consistent with the agency’s prior
         accounts, see id., at 861, the Government’s explanation of federal drug
         regulation departs markedly from the FDA’s understanding at all times
         relevant to this case.
           14 Wyeth’s more specific contention—that this case resembles Geier
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                                  Opinion of the Court

            In short, Wyeth has not persuaded us that failure-to
         warn claims like Levine’s obstruct the federal regulation
         of drug labeling. Congress has repeatedly declined to pre
         empt state law, and the FDA’s recently adopted position
         that state tort suits interfere with its statutory mandate is
         entitled to no weight. Although we recognize that some
         state-law claims might well frustrate the achievement of
         congressional objectives, this is not such a case.
                                      V
            We conclude that it is not impossible for Wyeth to com
         ply with its state and federal law obligations and that
         Levine’s common-law claims do not stand as an obstacle to
         the accomplishment of Congress’ purposes in the FDCA.
         Accordingly, the judgment of the Vermont Supreme Court
         is affirmed.
                                                     It is so ordered.




         ——————
         because the FDA determined that no additional warning on IV-push
         administration was needed, thereby setting a ceiling on Phenergan’s
         label—is belied by the record. As we have discussed, the FDA did not
         consider and reject a stronger warning against IV-push injection of
         Phenergan. See also App. 249–250 (“[A] tort case is unlikely to obstruct
         the regulatory process when the record shows that the FDA has paid
         very little attention to the issues raised by the parties at trial”).
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                             BREYER, J., concurring

         SUPREME COURT OF THE UNITED STATES
                                  _________________

                                  No. 06–1249
                                  _________________


                WYETH, PETITIONER v. DIANA LEVINE
             ON WRIT OF CERTIORARI TO THE SUPREME COURT OF
                               VERMONT
                                 [March 4, 2009]

            JUSTICE BREYER, concurring.
            I write separately to emphasize the Court’s statement
         that “we have no occasion in this case to consider the pre
         emptive effect of a specific agency regulation bearing the
         force of law.” Ante, at 24. State tort law will sometimes
         help the Food and Drug Administration (FDA) “uncover
         unknown drug hazards and [encourage] drug manufactur
         ers to disclose safety risks.” Ante, at 23. But it is also
         possible that state tort law will sometimes interfere with
         the FDA’s desire to create a drug label containing a spe
         cific set of cautions and instructions. I also note that some
         have argued that state tort law can sometimes raise prices
         to the point where those who are sick are unable to obtain
         the drugs they need. See Lasagna, The Chilling Effect of
         Product Liability on New Drug Development, in The Li
         ability Maze 334, 335–336 (P. Huber & R. Litan eds.
         1991). The FDA may seek to determine whether and
         when state tort law acts as a help or a hindrance to
         achieving the safe drug-related medical care that Congress
         sought. Medtronic, Inc. v. Lohr, 518 U. S. 470, 506 (1996)
         (BREYER, J., concurring in part and concurring in judg
         ment); cf. Bates v. Dow Agrosciences LLC, 544 U. S. 431,
         454–455 (2005) (BREYER, J., concurring). It may seek to
         embody those determinations in lawful specific regulations
         describing, for example, when labeling requirements serve
         as a ceiling as well as a floor. And it is possible that such
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         2                   WYETH v. LEVINE

                            BREYER, J., concurring

         determinations would have pre-emptive effect. See Lohr,
         supra, at 505 (opinion of BREYER, J.) (citing Hillsborough
         County v. Automated Medical Laboratories, Inc., 471 U. S.
         707 (1985)). I agree with the Court, however, that such a
         regulation is not at issue in this case.
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                        THOMAS, J., concurring in judgment

         SUPREME COURT OF THE UNITED STATES
                                   _________________

                                   No. 06–1249
                                   _________________


                WYETH, PETITIONER v. DIANA LEVINE
             ON WRIT OF CERTIORARI TO THE SUPREME COURT OF
                               VERMONT
                                 [March 4, 2009]

            JUSTICE THOMAS, concurring in the judgment.
            I agree with the Court that the fact that the Food and
         Drug Administration (FDA) approved the label for peti
         tioner Wyeth’s drug Phenergan does not pre-empt the
         state-law judgment before the Court. That judgment was
         based on a jury finding that the label did not adequately
         warn of the risk involved in administering Phenergan
         through the IV-push injection method. Under federal law,
         without prior approval from the FDA, Wyeth could have
         “add[ed] or strengthen[ed]” information on its label about
         “a contraindication, warning, precaution, or adverse reac
         tion,” 21 CFR §314.70(c)(6)(iii)(A) (2008), or “about dosage
         and administration that is intended to increase the safe
         use of the drug product,” §314.70(c)(6)(iii)(C), in order to
         “reflect newly acquired information,” including “new
         analyses of previously submitted data,” about the dangers
         of IV-push administration of Phenergan, 73 Fed. Reg.
         49603, 49609 (2008). It thus was possible for Wyeth to
         label and market Phenergan in compliance with federal
         law while also providing additional warning information
         on its label beyond that previously approved by the FDA.
         In addition, federal law does not give drug manufacturers
         an unconditional right to market their federally approved
         drug at all times with the precise label initially approved
         by the FDA. The Vermont court’s judgment in this case,
         therefore, did not directly conflict with federal law and is
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                        THOMAS, J., concurring in judgment

         not pre-empted.
            I write separately, however, because I cannot join the
         majority’s implicit endorsement of far-reaching implied
         pre-emption doctrines. In particular, I have become in
         creasingly skeptical of this Court’s “purposes and objec
         tives” pre-emption jurisprudence. Under this approach,
         the Court routinely invalidates state laws based on per
         ceived conflicts with broad federal policy objectives, legis
         lative history, or generalized notions of congressional
         purposes that are not embodied within the text of federal
         law. Because implied pre-emption doctrines that wander
         far from the statutory text are inconsistent with the Con
         stitution, I concur only in the judgment.
                                       I
                                      A
            In order “to ensure the protection of our fundamental
         liberties,” Atascadero State Hospital v. Scanlon, 473 U. S.
         234, 242 (1985) (internal quotation marks omitted), the
         “Constitution establishes a system of dual sovereignty
         between the States and the Federal Government.” Greg
         ory v. Ashcroft, 501 U. S. 452, 457 (1991). The Framers
         adopted this “ ‘constitutionally mandated balance of pow
         er,’ ” Atascadero State Hospital, supra, at 242, to “reduce
         the risk of tyranny and abuse from either front,” because a
         “federalist structure of joint sovereigns preserves to the
         people numerous advantages,” such as “a decentralized
         government that will be more sensitive to the diverse
         needs of a heterogeneous society” and “increase[d] oppor
         tunity for citizen involvement in democratic processes,”
         Gregory, supra, at 458. Furthermore, as the Framers
         observed, the “compound republic of America” provides “a
         double security . . . to the rights of the people” because
         “the power surrendered by the people is first divided
         between two distinct governments, and then the portion
         allotted to each subdivided among distinct and separate
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                        THOMAS, J., concurring in judgment

         departments.” The Federalist No. 51, p. 266 (M. Beloff ed.,
         2d ed. 1987).
            Under this federalist system, “the States possess sover
         eignty concurrent with that of the Federal Government,
         subject only to limitations imposed by the Supremacy
         Clause.” Tafflin v. Levitt, 493 U. S. 455, 458 (1990). In
         this way, the Supremacy Clause gives the Federal Gov
         ernment “a decided advantage in [a] delicate balance”
         between federal and state sovereigns. Gregory, 501 U. S.,
         at 460. “As long as it is acting within the powers granted
         it under the Constitution, Congress may impose its will on
         the States.” Ibid. That is an “extraordinary power in a
         federalist system.” Ibid.
            Nonetheless, the States retain substantial sovereign
         authority. U. S. Const., Amdt. 10 (“The powers not dele
         gated to the United States by the Constitution, nor prohib
         ited by it to the States, are reserved to the States respec
         tively, or to the people”); see also Alden v. Maine, 527 U. S.
         706, 713 (1999); Printz v. United States, 521 U. S. 898,
         918–922 (1997); New York v. United States, 505 U. S. 144,
         155–156 (1992); Gregory, supra, at 457–459; Tafflin, su
         pra, at 458. In accordance with the text and structure of
         the Constitution, “[t]he powers delegated by the proposed
         constitution to the federal government, are few and de
         fined” and “[t]hose which are to remain in the state gov
         ernments, are numerous and indefinite.” The Federalist
         No. 45, at 237–238. Indeed, in protecting our constitu
         tional government, “the preservation of the States, and the
         maintenance of their governments, are as much within the
         design and care of the Constitution as the preservation of
         the Union and the maintenance of the National govern
         ment.” Texas v. White, 7 Wall. 700, 725 (1869), quoted in
         New York v. United States, supra, at 162.
            As a result, in order to protect the delicate balance of
         power mandated by the Constitution, the Supremacy
         Clause must operate only in accordance with its terms.
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                           THOMAS, J., concurring in judgment

         The clause provides:
              “This Constitution, and the Laws of the United States
              which shall be made in Pursuance thereof; and all
              Treaties made, or which shall be made, under the Au
              thority of the United States, shall be the supreme Law
              of the Land; and the Judges in every State shall be
              bound thereby, any Thing in the Constitution or Laws
              of any state to the Contrary notwithstanding.” Art.
              VI, cl. 2.
         With respect to federal laws, then, the Supremacy Clause
         gives “supreme” status only to those that are “made in
         Pursuance” of “[t]his Constitution.” Ibid.; see 3 J. Story,
         Commentaries on the Constitution of the United States
         §1831, p. 694 (1833) (hereinafter Story) (“It will be ob
         served, that the supremacy of the laws is attached to those
         only, which are made in pursuance of the constitution”).
           Federal laws “made in Pursuance” of the Constitution
         must comply with two key structural limitations in the
         Constitution that ensure that the Federal Government
         does not amass too much power at the expense of the
         States. The first structural limitation, which the parties
         have not raised in this case, is “the Constitution’s confer
         ral upon Congress of not all governmental powers, but
         only discrete, enumerated ones.” Printz, supra, at 919; see
         also United States v. Morrison, 529 U. S. 598, 618, n. 8
         (2000); New York v. United States, supra, at 155–157;
         McCulloch v. Maryland, 4 Wheat. 316, 405 (1819) (“This
         government is acknowledged by all to be one of enumer
         ated powers”).1
         ——————
           1 This structural limitation may be implicated in a pre-emption case if

         the federal law at issue is beyond the scope of Congress’ enumerated
         powers. Expansion of congressional power through an “increasingly
         generous . . . interpretation of the commerce power of Congress,” for
         example, creates “a real risk that Congress will gradually erase the
         diffusion of power between State and Nation on which the Framers
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                           THOMAS, J., concurring in judgment

            The second structural limitation is the complex set of
         procedures that Congress and the President must follow to
         enact “Laws of the United States.” See INS v. Chadha,
         462 U. S. 919, 945–946 (1983) (setting forth the Constitu
         tion’s Bicameral and Presentment Clauses, Art. I, §7, cls.
         2–3, which “prescribe and define the respective functions
         of the Congress and of the Executive in the legislative
         process”). “[T]he Framers were acutely conscious that the
         bicameral requirement and the Presentment Clauses
         would serve essential constitutional functions,” Chadha,
         462 U. S., at 951, by allowing the passage of legislation
         only after it has proceeded through “a step-by-step, delib
         erate and deliberative process,” id., at 959, that was
         “finely wrought and exhaustively considered” by the
         Framers, id., at 951. The Supremacy Clause thus requires
         that pre-emptive effect be given only those to federal
         standards and policies that are set forth in, or necessarily
         follow from, the statutory text that was produced through
         the constitutionally required bicameral and presentment
         procedures. See 3 J. Story §1831, at 694 (Actions of the
         Federal Government “which are not pursuant to its consti
         tutional powers, but which are invasions of the residuary
         authorities of the smaller societies,” are not “the supreme
         law of the land. They will be merely acts of usurpation,
         and will deserve to be treated as such”).
                                       B
           In light of these constitutional principles, I have become
         “increasing[ly] reluctan[t] to expand federal statutes
         beyond their terms through doctrines of implied pre
         ——————
         based their faith in the efficiency and vitality of our Republic.” Garcia
         v. San Antonio Metropolitan Transit Authority, 469 U. S. 528, 583–584
         (1985) (O’Connor, J., dissenting); see also Marbury v. Madison, 1
         Cranch 137, 176 (1803) (“The powers of the legislature are defined, and
         limited; and that those limits may not be mistaken, or forgotten, the
         constitution is written”).
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         6                     WYETH v. LEVINE

                        THOMAS, J., concurring in judgment

         emption.” Bates v. Dow Agrosciences LLC, 544 U. S. 431,
         459 (2005) (THOMAS, J., concurring in judgment in part
         and dissenting in part). My review of this Court’s broad
         implied pre-emption precedents, particularly its “purposes
         and objectives” pre-emption jurisprudence, has increased
         my concerns that implied pre-emption doctrines have not
         always been constitutionally applied. Under the vague
         and “potentially boundless” doctrine of “purposes and
         objectives” pre-emption, Geier v. American Honda Motor
         Co., 529 U. S. 861, 907 (2000) (STEVENS, J., dissenting),
         for example, the Court has pre-empted state law based on
         its interpretation of broad federal policy objectives, legisla
         tive history, or generalized notions of congressional pur
         poses that are not contained within the text of federal law.
         See, e.g., Pharmaceutical Research and Mfrs. of America v.
         Walsh, 538 U. S. 644, 678 (2003) (THOMAS, J., concurring
         in judgment) (referring to the “concomitant danger of
         invoking obstacle pre-emption based on the arbitrary
         selection of one purpose to the exclusion of others”);
         Crosby v. National Foreign Trade Council, 530 U. S. 363,
         388–391 (2000) (SCALIA, J., concurring in judgment) (criti
         cizing the majority’s reliance on legislative history to
         discern statutory intent when that intent was “perfectly
         obvious on the face of th[e] statute”); Geier, supra, at 874–
         883 (relying on regulatory history, agency comments, and
         the Government’s litigating position to determine that
         federal law pre-empted state law).
            Congressional and agency musings, however, do not
         satisfy the Art. I, §7 requirements for enactment of federal
         law and, therefore, do not pre-empt state law under the
         Supremacy Clause. When analyzing the pre-emptive
         effect of federal statutes or regulations validly promul
         gated thereunder, “[e]vidence of pre-emptive purpose
         [must be] sought in the text and structure of the [provi
         sion] at issue” to comply with the Constitution. CSX
         Transp., Inc. v. Easterwood, 507 U. S. 658, 664 (1993); see
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         also New York v. FERC, 535 U. S. 1, 18 (2002) (“[A] federal
         agency may pre-empt state law only when and if it is
         acting within the scope of its congressional delegated
         authority . . . [for] an agency literally has no power to act,
         let alone pre-empt the validly enacted legislation of a
         sovereign State, unless and until Congress confers power
         upon it” (internal quotation marks omitted; second altera
         tion in original)); Camps Newfound/Owatonna, Inc. v.
         Town of Harrison, 520 U. S. 564, 617 (1997) (THOMAS, J.,
         dissenting) (noting that “treating unenacted congressional
         intent as if it were law would be constitutionally dubi
         ous”). Pre-emption analysis should not be “a freewheeling
         judicial inquiry into whether a state statute is in tension
         with federal objectives, but an inquiry into whether the
         ordinary meanings of state and federal law conflict.”
         Bates, supra, at 459 (THOMAS, J., concurring in judgment
         in part and dissenting in part) (internal quotation marks
         and citation omitted); see also Geier, supra, at 911
         (STEVENS., J., dissenting) (“[P]re-emption analysis is, or at
         least should be, a matter of precise statutory [or regula
         tory] construction rather than an exercise in free-form
         judicial policymaking” (internal quotation marks omit
         ted)). Pre-emption must turn on whether state law con
         flicts with the text of the relevant federal statute or with
         the federal regulations authorized by that text. See Foster
         v. Love, 522 U. S. 67, 71 (1997) (finding that conflict pre
         emption question “turn[ed] entirely on the meaning of the
         state and federal statutes” at issue before the Court); see
         also New York v. FERC, supra, at 19.
                                      II
           This Court has determined that there are two categories
         of conflict pre-emption, both of which Wyeth contends are
         at issue in this case. First, the Court has found pre
         emption “where compliance with both federal and state
         regulations is a physical impossibility for one engaged in
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         8                         WYETH v. LEVINE

                           THOMAS, J., concurring in judgment

         interstate commerce.” Florida Lime & Avocado Growers,
         Inc. v. Paul, 373 U. S. 132, 142–143 (1963). Second, the
         Court has determined that federal law pre-empts state
         law when, “under the circumstances of [a] particular case,
         [state] law stands as an obstacle to the accomplishment
         and execution of the full purposes and objectives of Con
         gress.” Hines v. Davidowitz, 312 U. S. 52, 67 (1941).2
                                        A
           Wyeth first contends that “it would have been impossi
         ble for it to comply with the state-law duty to modify
         Phenergan’s labeling without violating federal law.” Ante,
         at 6 (opinion for the Court by STEVENS, J.). But, as the
         majority explains, the text of the relevant federal statu
         tory provisions and the corresponding regulations do not
         directly conflict with the state-law judgment before us.
           This Court has used different formulations of the stan
         dard to be used in deciding whether state and federal law
         conflict, and thus lead to pre-emption, under the “impossi
         bility” doctrine. See, e.g., Geier, supra, at 873 (“a case in
         which state law penalizes what federal law requires”);
         American Telephone & Telegraph Co. v. Central Office
         Telephone, Inc., 524 U. S. 214, 227 (1998) (AT&T) (when
         state-law claims “directly conflict” with federal law), cited
         in Geier, supra, at 874 (describing AT&T as a “cas[e]
         involving impossibility”); Florida Lime & Avocado Grow
         ers, supra, at 142–143 (“where compliance with both fed
         ——————
            2 The majority’s pre-emption analysis relies in part on a presumption

         against pre-emption. Ante, at 8, and n. 3 (opinion of STEVENS, J.).
         Because it is evident from the text of the relevant federal statutes and
         regulations themselves that the state-law judgment below is not pre
         empted, it is not necessary to decide whether, or to what extent, the
         presumption should apply in a case such as this one, where Congress
         has not enacted an express-pre-emption clause. Cf. Altria Group, Inc.
         v. Good, 555 U. S. ___, ___ (2008) (THOMAS, J., dissenting) (rejecting the
         use of a presumption against pre-emption in express pre-emption
         cases).
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         eral and state regulations is a physical impossibility”). The
         Court has generally articulated a very narrow “impossibil
         ity standard,” see Crosby, 530 U. S., at 372–373 (citing
         Florida Lime & Avocado Growers, supra, at 142–143); see
         also Sprietsma v. Mercury Marine, 537 U. S. 51, 64–65
         (2002); United States v. Locke, 529 U. S. 89, 109 (2000)—in
         part because the overly broad sweep of the Court’s “pur
         poses and objectives” approach, see infra, at 13–23, has
         rendered it unnecessary for the Court to rely on “impossi
         bility” pre-emption.
            The Court, in fact, has not explained why a narrow
         “physical impossibility” standard is the best proxy for
         determining when state and federal laws “directly conflict”
         for purposes of the Supremacy Clause. There could be
         instances where it is not “physically impossible” to comply
         with both state and federal law, even when the state and
         federal laws give directly conflicting commands. See
         Nelson, Preemption, 86 Va. L. Rev. 225, 260–261 (2000).
         For example, if federal law gives an individual the right to
         engage in certain behavior that state law prohibits, the
         laws would give contradictory commands notwithstanding
         the fact that an individual could comply with both by
         electing to refrain from the covered behavior. Ibid. There
         fore, “physical impossibility” may not be the most appro
         priate standard for determining whether the text of state
         and federal laws directly conflict. See ibid. (concluding
         that the Supremacy Clause does not limit direct conflicts
         to cases with “physically impossible” conflicts and arguing
         that evidence from the Founding supports a standard of
         “logical-contradiction”); see also AT&T, supra, at 227
         (requiring that the state-law claims “directly conflict” with
         federal law); 3 Story §1836, at 701 (suggesting instead
         that a state law is pre-empted by the Supremacy Clause
         when it is “repugnant to the constitution of the United
         States” (emphasis added)).
            Nonetheless, whatever the precise constitutional con
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                         THOMAS, J., concurring in judgment

         tours of implied pre-emption may be, I am satisfied that it
         does not operate against respondent’s judgment below.
         The text of the federal laws at issue do not require that
         the state-court judgment at issue be pre-empted, under
         either the narrow “physical impossibility” standard, Flor
         ida Lime & Avocado Growers, supra, at 142–143, or a
         more general “direc[t] conflict” standard, AT&T, supra, at
         227.
            Under the FDA’s “changes being effected” regulation, 21
         CFR §314.70(c)(6)(iii), which was promulgated pursuant to
         the FDA’s statutory authority, it is physically possible for
         Wyeth to market Phenergan in compliance with federal
         and Vermont law. As the majority explains, Wyeth could
         have changed the warning on its label regarding IV-push
         without violating federal law. See ante, at 11–13. The
         “changes being effected” regulation allows drug manufac
         turers to change their labels without the FDA’s preapproval
         if the changes “add or strengthen a contraindication, warn
         ing, precaution, or adverse reaction,” §314.70(c)(6)(iii)(A), or
         “add or strengthen an instruction about dosage and ad
         ministration that is intended to increase the safe use of the
         drug product,” §314.70(c)(6)(iii)(C), in order to “reflect
         newly acquired information,” including “new analyses of
         previously submitted data,” 73 Fed. Reg. 49603, 49609.
         Under the terms of these regulations, after learning of
         new incidences of gangrene-induced amputation resulting
         from the IV-push administration of Phenergan, see ante,
         at 12–13, federal law gave Wyeth the authority to change
         Phenergan’s label to “strengthen a . . . warning,”
         “strengthen a . . . precaution,” §314.70(c)(6)(iii)(A), or to
         “strengthen an instruction about . . . administration [of
         the IV-push method] . . . to increase the safe use of the
         drug product,” §314.70(c)(6)(iii)(C). Thus, it was physi
         cally possible for Wyeth to comply with a state-law re
         quirement to provide stronger warnings on Phenergan
         about the risks of the IV-push administration method
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         while continuing to market Phenergan in compliance with
         federal law.
            In addition, the text of the statutory provisions govern
         ing FDA drug labeling, and the regulations promulgated
         thereunder, do not give drug manufacturers an uncondi
         tional right to market their federally approved drug at all
         times with the precise label initially approved by the FDA.
         Thus, there is no “direct conflict” between the federal
         labeling law and the state-court judgment. The statute
         prohibits the interstate marketing of any drug, except for
         those that are federally approved. See 21 U. S. C. §355(a)
         (“No person shall introduce or deliver for introduction into
         interstate commerce any new drug, unless an approval of
         an application filed pursuant to subsection (b) or (j) of this
         section is effective with respect to such drug” (emphasis
         added)). To say, as the statute does, that Wyeth may not
         market a drug without federal approval (i.e., without an
         FDA-approved label) is not to say that federal approval
         gives Wyeth the unfettered right, for all time, to market
         its drug with the specific label that was federally ap
         proved. Initial approval of a label amounts to a finding by
         the FDA that the label is safe for purposes of gaining
         federal approval to market the drug. It does not represent
         a finding that the drug, as labeled, can never be deemed
         unsafe by later federal action, or as in this case, the appli
         cation of state law.
            Instead, FDA regulations require a drug manufac
         turer—after initial federal approval of a drug’s label—to
         revise the federally approved label “to include a warning
         as soon as there is reasonable evidence of an association of
         a serious hazard with a drug.” 21 CFR §201.80(e). Drug
         manufacturers are also required to “establish and main
         tain records and make reports” to the FDA about “[a]ny
         adverse event associated with the use of a drug in hu
         mans, whether or not considered drug related,” after it has
         received federal approval. §§314.80(a), (c), (j). In addition,
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         the manufacturer must make periodic reports about “ad
         verse drug experience[s]” associated with its drug and
         include “a history of actions taken since the last report
         because of adverse drug experiences (for example, labeling
         changes or studies initiated).” §§314.80(c)(2)(i)–(ii). When
         such records and reports are not made, the FDA can with
         draw its approval of the drug. §314.80(j); see also 21
         U. S. C. §355(e) (“The Secretary may . . . withdraw the
         approval of an application . . . if the Secretary finds . . . that
         the applicant has failed to establish a system for maintain
         ing required records, or has repeatedly or deliberately failed
         to maintain such records or to make required reports”).
         The FDA may also determine that a drug is no longer safe
         for use based on “clinical or other experience, tests, or
         other scientific data.” Ibid. (approval may be withdrawn if
         “the Secretary finds . . . that clinical or other experience,
         tests, or other scientific data show that such drug is un
         safe for use under the conditions of use upon the basis of
         which the application was approved”).
            The text of the statutory provisions and the accompany
         ing regulatory scheme governing the FDA drug approval
         process, therefore, establish that the FDA’s initial ap
         proval of a drug is not a guarantee that the drug’s label
         will never need to be changed. And nothing in the text of
         the statutory or regulatory scheme necessarily insulates
         Wyeth from liability under state law simply because the
         FDA has approved a particular label.
            In sum, the relevant federal law did not give Wyeth a
         right that the state-law judgment took away, and it was
         possible for Wyeth to comply with both federal law and the
         Vermont-law judgment at issue here. The federal statute
         and regulations neither prohibited the stronger warning
         label required by the state judgment, nor insulated Wyeth
         from the risk of state-law liability. With no “direct con
         flict” between the federal and state law, then, the state
         law judgment is not pre-empted. Cf. AT&T, 524 U. S., at
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         221–226 (finding pre-emption where federal law forbade
         common carriers from extending communications privi
         leges requested by state-law claims); Foster, 522 U. S., at
         68–69 (finding pre-emption where the federal statute
         required congressional elections on a particular date
         different from that provided by state statute).
                                        B
            Wyeth also contends that state and federal law conflict
         because “recognition of [this] state tort action creates an
         unacceptable ‘obstacle to the accomplishment and execu
         tion of the full purposes and objectives of Congress,’ Hines
         v. Davidowitz, 312 U. S. 52, 67 (1941), because it substi
         tutes a lay jury’s decision about drug labeling for the
         expert judgment of the FDA.” Ante, at 6–7. This Court’s
         entire body of “purposes and objectives” pre-emption juris
         prudence is inherently flawed. The cases improperly rely
         on legislative history, broad atextual notions of congres
         sional purpose, and even congressional inaction in order to
         pre-empt state law. See supra, at 5–7. I, therefore, cannot
         join the majority’s analysis of this claim, see ante, at 17–
         25, or its reaffirmation of the Court’s “purposes and objec
         tives” jurisprudence, ante, at 17–18 (analyzing congres
         sional purposes); ante, at 20 (quoting the “ ‘purposes and
         objectives’ ” pre-emption standard from Hines v.
         Davidowitz, 312 U. S. 52, 67 (1941), and Geier, 529 U. S.,
         at 883); ante, at 23–24, and nn. 13–14 (analyzing this case
         in light of Geier, 529 U. S. 861).
                                     1
           The Court first formulated its current “purposes and
         objectives” pre-emption standard in Hines when it consid
         ered whether the federal Alien Registration Act pre
         empted an Alien Registration Act adopted by the Com
         monwealth of Pennsylvania. The Court did not find that
         the two statutes, by their terms, directly conflicted. See
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         Hines, supra, at 59–60, and n. 1 (citing Pa. Stat. Ann., Tit.
         35, §§1801–1806 (Purdon Supp. 1940)); 312 U. S., at 60,
         and n. 5 (citing Act of June 28, 1940, 54 Stat. 670); 312
         U. S., at 69–74 (analyzing numerous extratextual sources
         and finding pre-emption without concluding that the
         terms of the federal and state laws directly conflict); see
         also id., at 78 (noting that “[i]t is conceded that the federal
         act in operation does not at any point conflict with the
         state statute” (Stone, J., dissenting)).3 Nonetheless, the
         Court determined that it was not confined to considering
         merely the terms of the relevant federal law in conducting
         its pre-emption analysis. Rather, it went on to ask
         whether the state law “stands as an obstacle to the accom
         plishment and execution of the full purposes and objec
         tives of Congress.” Id., at 67.
            In so doing, the Court looked far beyond the relevant
         federal statutory text and instead embarked on its own
         ——————
           3 According to the Court, the Pennsylvania Act required:
            “every alien 18 years or over, with certain exceptions, to register once
         each year; provide such information as is required by the statute, plus
         any ‘other information and details’ that the Department of Labor and
         Industry may direct; pay $1 as an annual registration fee; receive an
         alien identification card and carry it at all times; show the card when
         ever it may be demanded by any police officer or any agent of the
         Department of Labor and Industry; and exhibit the card as a condition
         precedent to registering a motor vehicle in his name or obtaining a
         license to operate one. . . . Nonexempt aliens who fail to register are
         subject to a fine . . . or imprisonment . . . . For failure to carry an
         identification card or for failure to show it upon proper demand, the
         punishment is a fine . . . or imprisonment . . . .” Hines, 312 U. S., at 59–
         60 (footnote omitted).
            The Court explained that the federal Alien Registration Act required:
            “a single registration of aliens 14 years of age and over; detailed
         information specified by the Act, plus ‘such additional matters as may
         be prescribed by the Commissioner, with the approval of the Attorney
         General’; finger-printing of all registrants; and secrecy of the federal
         files . . . . No requirement that aliens carry a registration card to be
         exhibited to police or others is embodied in the law, and only the wilful
         failure to register is made a criminal offense . . . .” Id., at 60–61.
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         freeranging speculation about what the purposes of the
         federal law must have been. See id., at 69–74. In addition
         to the meaning of the relevant federal text, the Court
         attempted to discern “[t]he nature of the power exerted by
         Congress, the object sought to be attained, and the charac
         ter of the obligations imposed by the law.” Id., at 70. To
         do so, the Court looked in part to public sentiment, noting
         that “[o]pposition to laws . . . singling out aliens as par
         ticularly dangerous and undesirable groups, is deep-seated
         in this country.” Ibid. The Court also relied on state
         ments by particular Members of Congress and on congres
         sional inaction, finding it pertinent that numerous bills
         with requirements similar to Pennsylvania’s law had
         failed to garner enough votes in Congress to become law.
         Id., at 71–73, and nn. 32–34. Concluding that these
         sources revealed a federal purpose to “protect the personal
         liberties of law-abiding aliens through one uniform na
         tional registration system,” the Court held that the Penn
         sylvania law was pre-empted. Id., at 74.
            Justice Stone, in dissent, questioned the majority’s
         decision to read an exclusive registration system for aliens
         into a statute that did not specifically provide such exclu
         sivity. See id., at 75. He noted his concern that state
         power would be improperly diminished through a pre
         emption doctrine driven by the Court’s “own conceptions of
         a policy which Congress ha[d] not expressed and which is
         not plainly to be inferred from the legislation which it
         ha[d] enacted.” Ibid. In his view, nothing that Congress
         enacted had “denie[d] the states the practicable means of
         identifying their alien residents and of recording their
         whereabouts.” Id., at 78. Yet, the Hines majority em
         ployed pre-emption to override numerous state alien
         registration laws even though enacted federal law “at no
         point conflict[ed] with the state legislation and [was]
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         harmonious with it.” Id., at 79.4
                                       2
           The consequences of this Court’s broad approach to
         “purposes and objectives” pre-emption are exemplified in
         this Court’s decision in Geier, which both the majority and
         the dissent incorporate into their analysis today. See ante,
         at 23–24, and nn. 13–14; post, at 6–9 (opinion of ALITO, J.).
         In Geier, pursuant to the National Traffic and Motor
         Vehicle Safety Act of 1966 (Safety Act), 80 Stat. 718, 15
         U. S. C. §1381 et seq. (1988 ed.), the Department of Trans
         portation (DOT) had promulgated a Federal Motor Vehicle
         Safety Standard that “required auto manufacturers to
         equip some but not all of their 1987 vehicles with passive
         restraints.” 529 U. S., at 864–865. The case required this
         Court to decide whether the Safety Act pre-empted a state
         common-law tort action in which the plaintiff claimed that
         an auto manufacturer, though in compliance with the
         federal standard, should nonetheless have equipped a
         1987 automobile with airbags. Id., at 865. The Court first
         concluded that the Safety Act’s express pre-emption provi
         sion and its saving clause, read together, did not expressly
         pre-empt state common-law claims. See id., at 867–868.5
         ——————
            4 According to Justice Stone, the Hines majority’s analysis resembled

         an inquiry into whether the federal act “ ‘occupied the field,’ ” rather
         than an application of simple conflict pre-emption principles. Id., at 78
         (dissenting opinion). Regardless of whether Hines involved field or
         conflict pre-emption, the dissent accurately observed that in assessing
         the boundaries of the federal law—i.e., the scope of its pre-emptive
         effect—the Court should look to the federal statute itself, rather than
         speculate about Congress’ unstated intentions. Id., at 78–79. See also
         Camps Newfound/Owatonna, Inc. v. Town of Harrison, 520 U. S. 564,
         616–617 (1997) (THOMAS, J., dissenting) (noting that “field pre-emption
         is itself suspect, at least as applied in the absence of a congressional
         command that a particular field be pre-empted”).
            5 The Safety Act’s express pre-emption provision stated in part:

            “Whenever a Federal motor vehicle safety standard established
         under this subchapter is in effect, no State . . . shall have any authority
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         The Court then proceeded to consider whether the state
         action was nonetheless pre-empted as an “obstacle” to the
         purposes of the federal law. The Court held that the state
         tort claim was pre-empted, relying in large part on com
         ments that DOT made when promulgating its regulation,
         statements that the Government made in its brief to the
         Court, and regulatory history that related to the federal
         regulation of passive restraints. See id., at 874–886.
             In particular, the majority found that DOT intended to
         “deliberately provid[e] the manufacturer[s] with a range of
         choices among different passive restraint devices” and to
         “bring about a mix of different devices introduced gradu
         ally over time,” based on comments that DOT made when
         promulgating its regulation, rather than the Safety Act’s
         text. Id., at 875. The majority also embarked on a judicial
         inquiry into “why and how DOT sought these objectives,”
         ibid., by considering regulatory history and the Govern
         ment’s brief, which described DOT’s safety standard as
         “ ‘embod[ying] the Secretary’s policy judgment that safety
         would best be promoted if manufacturers installed alter
         native protection systems in their fleets rather than one
         particular system in every car,’ ” id., at 881 (quoting Brief
         for United States as Amicus Curiae in Geier v. American
         Honda Motor Co., O. T. 1999, No. 98–1811, p. 25); see also
         ——————
         either to establish, or to continue in effect, with respect to any motor
         vehicle or item of motor vehicle equipment[,] any safety standard
         applicable to the same aspect of performance of such vehicle or item of
         equipment which is not identical to the Federal standard.” 15 U. S. C.
         §1392(d) (1988 ed.).
           The Safety Act also included a saving clause, which stated: “Compli
         ance with any Federal motor vehicle safety standard issued under this
         subchapter does not exempt any person from any liability under com
         mon law.” §1397(k). The majority and dissent in Geier agreed that the
         import of the express pre-emption provision and the saving clause, read
         together, was that by its terms, the Safety Act did not expressly pre
         empt state common-law actions. See Geier, 529 U. S., at 867–868; id.,
         at 895–898 (STEVENS, J., dissenting).
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         529 U. S., at 883–884. Based on this “ex post administra
         tive litigating position and inferences from regulatory
         history and final commentary,” id., at 910–911 (STEVENS.,
         J., dissenting), the Court found that the state action was
         pre-empted because it would have required manufacturers
         of all cars similar to that in which the plaintiff was injured
         to “install airbags rather than other passive restraint
         systems” and would have, therefore, “presented an obsta
         cle to the variety and mix of devices that the federal regu
         lation sought” to phase in gradually, id., at 881.
            The Court’s decision in Geier to apply “purposes and
         objectives” pre-emption based on agency comments, regu
         latory history, and agency litigating positions was espe
         cially flawed, given that it conflicted with the plain statu
         tory text of the saving clause within the Safety Act, which
         explicitly preserved state common-law actions by provid
         ing that “[c]ompliance with any Federal motor vehicle
         safety standard issued under this subchapter does not
         exempt any person from any liability under common law,”
         15 U. S. C. §1397(k) (1988 ed.).6 See Engine Mfrs. Assn. v.
         ——————
           6 In  addition to the impropriety of looking beyond the plain text of the
         saving clause to regulatory history, DOT comments, and an administra
         tive litigating position to evaluate the Safety Act’s pre-emptive effect, it
         is unclear that the Court in Geier accurately assessed the federal
         objectives of the relevant federal law. As the dissent in Geier pointed
         out, the purpose of the Safety Act, as stated by Congress, was generally
         “ ‘to reduce traffic accidents and deaths and injuries to persons result
         ing from traffic accidents.’ ” Id., at 888–889 (opinion of STEVENS, J.)
         (quoting 15 U. S. C. §1381 (1988 ed.)). On its face, that goal is of course
         consistent with a state-law judgment that a particular vehicle needed a
         passive restraint system that would better protect persons from death
         and injury during traffic accidents. Furthermore, the dissent observed
         that “by definition all of the standards established under the Safety Act
         . . . impose minimum, rather than fixed or maximum, requirements.”
         529 U. S., at 903 (citing 15 U. S. C. §1391(2) (1988 ed.)). Thus, in the
         dissent’s view, the requirements of the DOT regulation were not
         ceilings, and it was “obvious that the Secretary favored a more rapid
         increase” than required by the regulations. 529 U. S., at 903. That
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         South Coast Air Quality Management Dist., 541 U. S. 246,
         252 (2004) (“Statutory construction must begin with the
         language employed by Congress and the assumption that
         the ordinary meaning of that language accurately ex
         presses the legislative purpose” (internal quotation marks
         omitted)); West Virginia Univ. Hospitals, Inc. v. Casey, 499
         U. S. 83, 98 (1991) (“The best evidence of th[e] purpose [of
         a statute] is the statutory text adopted by both Houses of
         Congress and submitted to the President”). In addition,
         the Court’s reliance on its divined purpose of the federal
         law—to gradually phase in a mix of passive restraint
         systems—in order to invalidate a State’s imposition of a
         greater safety standard was contrary to the more general
         express statutory goal of the Safety Act “to reduce traffic
         accidents and deaths and injuries to persons resulting
         from traffic accidents,” 15 U. S. C. §1381 (1988 ed.). This
         Court has repeatedly stated that when statutory language
         is plain, it must be enforced according to its terms. See
         Jimenez v. Quarterman, 555 U. S. ___ (2009); see also, e.g.,
         Dodd v. United States, 545 U. S. 353, 359 (2005); Lamie v.
         United States Trustee, 540 U. S. 526, 534 (2004); Hartford
         Underwriters Ins. Co. v. Union Planters Bank, N. A., 530
         U. S. 1, 6 (2000). The text in Geier “directly addressed the
         precise question at issue” before the Court, so that should
         have been “the end of the matter; for the court, as well as
         the agency, must give effect to the unambiguously ex
         pressed intent of Congress.” National Assn. of Home Build
         ers v. Defenders of Wildlife, 551 U. S. 644, ___ (2007) (slip
         op., at 18) (2007) (internal quotation marks omitted). With
         text that allowed state actions like the one at issue in Geier,
         the Court had no authority to comb through agency com
         mentaries to find a basis for an alternative conclusion.
         ——————
         goal also would be consistent with a state-law judgment finding that a
         manufacturer acted negligently when it failed to include an airbag in a
         particular car. See id., at 903–904.
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             Applying “purposes and objectives” pre-emption in
         Geier, as in any case, allowed this Court to vacate a judg
         ment issued by another sovereign based on nothing more
         than assumptions and goals that were untethered from
         the constitutionally enacted federal law authorizing the
         federal regulatory standard that was before the Court.
         See Watters v. Wachovia Bank, N. A., 550 U. S. 1, 44
         (2007) (STEVENS, J., dissenting) (noting that pre-emption
         “affects the allocation of powers among sovereigns”).
         “ ‘[A]n agency literally has no power to act, let alone pre
         empt the [law] of a sovereign State, unless and until Con
         gress confers power upon it.’ ” New York v. FERC, 535
         U. S., at 18 (quoting Louisiana Pub. Serv. Comm’n v. FCC,
         476 U. S. 355, 374 (1986)). Thus, no agency or individual
         Member of Congress can pre-empt a State’s judgment by
         merely musing about goals or intentions not found within
         or authorized by the statutory text. See supra, at 5–7.
             The Court’s “purposes and objectives” pre-emption
         jurisprudence is also problematic because it encourages an
         overly expansive reading of statutory text. The Court’s
         desire to divine the broader purposes of the statute before
         it inevitably leads it to assume that Congress wanted to
         pursue those policies “at all costs”—even when the text
         reflects a different balance. See Geier, supra, at 904
         (STEVENS, J., dissenting) (finding no evidence to support
         the notion that the DOT Secretary intended to advance
         the purposes of the safety standard “at all costs”); Nelson,
         86 Va. L. Rev., at 279–280. As this Court has repeatedly
         noted, “ ‘it frustrates rather than effectuates legislative
         intent simplistically to assume that whatever furthers the
         statute’s primary objective must be the law.’ ” E.g., Nor
         folk Southern R. Co. v. Sorrell, 549 U. S. 158, 171 (2007)
         (quoting Rodriguez v. United States, 480 U. S. 522, 526
         (1987) (per curiam)). Federal legislation is often the result
         of compromise between legislators and “groups with
         marked but divergent interests.” See Ragsdale v. Wolver
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         ine World Wide, Inc., 535 U. S. 81, 93–94 (2002). Thus, a
         statute’s text might reflect a compromise between parties
         who wanted to pursue a particular goal to different ex
         tents. See, e.g., ibid. (noting that the Family and Medical
         Leave Act’s provision of only 12 workweeks of yearly leave
         “was the result of compromise” that must be given effect
         by courts); Silkwood v. Kerr-McGee Corp., 464 U. S. 238,
         257 (1984) (finding that a state law was not pre-empted
         though it allegedly frustrated a primary purpose of the
         Atomic Energy Act because the Act provided that its pur
         pose was to be furthered only “to the extent it is consistent
         ‘with the health and safety of the public’ ” (quoting 42
         U. S. C. §2013(d) (1982 ed.))); see also Manning, What
         Divides Textualists from Purposivists? 106 Colum. L. Rev.
         70, 104 (2006) (“Legislators may compromise on a statute
         that does not fully address a perceived mischief, accepting
         half a loaf to facilitate a law’s enactment”). Therefore,
         there is no factual basis for the assumption underlying the
         Court’s “purposes and objectives” pre-emption jurispru
         dence that every policy seemingly consistent with federal
         statutory text has necessarily been authorized by Con
         gress and warrants pre-emptive effect. Instead, our fed
         eral system in general, and the Supremacy Clause in
         particular, accords pre-emptive effect to only those policies
         that are actually authorized by and effectuated through
         the statutory text.
                                        3
           The majority, while reaching the right conclusion in this
         case, demonstrates once again how application of “pur
         poses and objectives” pre-emption requires inquiry into
         matters beyond the scope of proper judicial review. For
         example, the majority relies heavily on Congress’ failure
         “during the . . . 70-year history” of the federal Food, Drug,
         and Cosmetic Act to enact an express pre-emption provi
         sion that addresses approval of a drug label by the FDA.
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         Ante, at 18. That “silence on the issue, coupled with [Con
         gress’] certain awareness of the prevalence of state tort
         litigation,” the majority reasons, is evidence that Congress
         did not intend for federal approval of drug labels to pre
         empt state tort judgments. Ibid.; see also ante, at 17–18
         (construing from inaction that Congress “[e]vidently [had]
         determined that widely available state rights of action
         provided appropriate relief”). Certainly, the absence of a
         statutory provision pre-empting all state tort suits related
         to approved federal drug labels is pertinent to a finding
         that such lawsuits are not pre-empted. But the relevance
         is in the fact that no statute explicitly pre-empts the law
         suits, and not in any inferences that the Court may draw
         from congressional silence about the motivations or poli
         cies underlying Congress’ failure to act. See Brown v.
         Gardner, 513 U. S. 115, 121 (1994) (“[C]ongressional
         silence lacks persuasive significance” (internal quotation
         marks omitted)); O’Melveny & Myers v. FDIC, 512 U. S.
         79, 85 (1994) (“[M]atters left unaddressed in [a compre
         hensive and detailed federal] scheme are presumably left
         subject to the disposition provided by state law”); Camps
         Newfound, 520 U. S., at 616 (“[O]ur pre-emption jurispru
         dence explicitly rejects the notion that mere congressional
         silence on a particular issue may be read as pre-empting
         state law”).
            In this case, the majority has concluded from silence
         that Congress believed state lawsuits pose no obstacle to
         federal drug-approval objectives. See ante, at 18. That is
         the required conclusion, but only because it is compelled
         by the text of the relevant statutory and regulatory provi
         sions, not judicial suppositions about Congress’ unstated
         goals. The fact that the Court reaches the proper conclu
         sion does not justify its speculation about the reasons for
         congressional inaction. In this case, the Court has relied
         on the perceived congressional policies underlying inaction
         to find that state law is not pre-empted. But once the
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         Court shows a willingness to guess at the intent underly
         ing congressional inaction, the Court could just as easily
         rely on its own perceptions regarding congressional inac
         tion to give unduly broad pre-emptive effect to federal law.
         See, e.g., American Ins. Assn. v. Garamendi, 539 U. S. 396,
         401, 405–408, 429 (2003) (finding that Congress’ failure to
         pass legislation indicating that it disagreed with the
         President’s executive agreement supported, at least in
         part, the Court’s determination that the agreement pre
         empted state law). Either approach is illegitimate. Under
         the Supremacy Clause, state law is pre-empted only by
         federal law “made in Pursuance” of the Constitution,
         Art. VI, cl. 2—not by extratextual considerations of the
         purposes underlying congressional inaction. See Hoffman
         v. Connecticut Dept. of Income Maintenance, 492 U. S. 96,
         104 (1989) (plurality opinion) (finding that policy argu
         ments that “are not based in the text of the statute . . . are
         not helpful”); TVA v. Hill, 437 U. S. 153, 194 (1978) (“Our
         individual appraisal of the wisdom or unwisdom of a
         particular course consciously selected by the Congress is to
         be put aside in the process of interpreting a statute”). Our
         role, then, is merely “to interpret the language of the
         statute[s] enacted by Congress.” Barnhart v. Sigmon Coal
         Co., 534 U. S. 438, 461 (2002).
                                       III
           The origins of this Court’s “purposes and objectives” pre
         emption jurisprudence in Hines, and its broad application
         in cases like Geier, illustrate that this brand of the Court’s
         pre-emption jurisprudence facilitates freewheeling, ex
         tratextual, and broad evaluations of the “purposes and
         objectives” embodied within federal law. This, in turn,
         leads to decisions giving improperly broad pre-emptive
         effect to judicially manufactured policies, rather than to
         the statutory text enacted by Congress pursuant to the
         Constitution and the agency actions authorized thereby.
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         Because such a sweeping approach to pre-emption leads to
         the illegitimate—and thus, unconstitutional—invalidation
         of state laws, I can no longer assent to a doctrine that pre
         empts state laws merely because they “stan[d] as an ob
         stacle to the accomplishment and execution of the full
         purposes and objectives” of federal law, Hines, 312 U. S.,
         at 67, as perceived by this Court. I therefore respectfully
         concur only in the judgment.
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                               ALITO, J., dissenting

         SUPREME COURT OF THE UNITED STATES
                                   _________________

                                   No. 06–1249
                                   _________________


                 WYETH, PETITIONER v. DIANA LEVINE
             ON WRIT OF CERTIORARI TO THE SUPREME COURT OF
                               VERMONT
                                  [March 4, 2009]

           JUSTICE ALITO, with whom THE CHIEF JUSTICE and
         JUSTICE SCALIA join, dissenting.
           This case illustrates that tragic facts make bad law.
         The Court holds that a state tort jury, rather than the
         Food and Drug Administration (FDA), is ultimately re­
         sponsible for regulating warning labels for prescription
         drugs. That result cannot be reconciled with Geier v.
         American Honda Motor Co., 529 U. S. 861 (2000), or gen­
         eral principles of conflict pre-emption. I respectfully
         dissent.
                                       I
           The Court frames the question presented as a “narro[w]”
         one—namely, whether Wyeth has a duty to provide “an
         adequate warning about using the IV-push method” to
         administer Phenergan. Ante, at 8. But that ignores the
         antecedent question of who—the FDA or a jury in Ver­
         mont—has the authority and responsibility for determin­
         ing the “adequacy” of Phenergan’s warnings. Moreover, it
         is unclear how a “stronger” warning could have helped
         respondent, see ante, at 16; after all, the physician’s assis­
         tant who treated her disregarded at least six separate
         warnings that are already on Phenergan’s labeling, so
         respondent would be hard pressed to prove that a seventh
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         would have made a difference.1
           More to the point, the question presented by this case is
         not a “narrow” one, and it does not concern whether Phen­
         ergan’s label should bear a “stronger” warning. Rather,
         the real issue is whether a state tort jury can counter­
         mand the FDA’s considered judgment that Phenergan’s
         FDA-mandated warning label renders its intravenous (IV)
         use “safe.”    Indeed, respondent’s amended complaint
         alleged that Phenergan is “not reasonably safe for intra­
         venous administration,” App. 15, ¶6; respondent’s attorney
         told the jury that Phenergan’s label should say, “ ‘Do not
         use this drug intravenously,’ ” id., at 32; respondent’s
         expert told the jury, “I think the drug should be labeled
         ‘Not for IV use,’ ” id., at 59; and during his closing argu­
         ment, respondent’s attorney told the jury, “Thank God we
         don’t rely on the FDA to . . . make the safe[ty] decision.
         You will make the decision. . . . The FDA doesn’t make the
         decision, you do,” id., at 211–212.2
           Federal law, however, does rely on the FDA to make
         ——————
            1 Indeed, respondent conceded below that Wyeth did propose an ade­

         quate warning of Phenergan’s risks. See Plaintiff Diana Levine’s
         Memorandum in Opposition to Wyeth’s Motion for Summary Judgment
         in Levine v. American Home Products Corp. (now Wyeth), No. 670–12–
         01 Wncv (Super. Ct. Washington Cty., Vt.), ¶7, p. 26. Specifically,
         respondent noted: “In 1988, Wyeth proposed language that would have
         prevented this accident by requiring a running IV and explaining why a
         running IV will address and reduce the risk [of intra-arterial injec­
         tion].” Ibid. See also id., at 24 (“Although not strong enough, this
         improved the labeling instruction, if followed, would have prevented the
         inadvertent administration of Phenergan into an artery . . .”). The FDA
         rejected Wyeth’s proposal. See App. 359.
            2 Moreover, in the trial judge’s final charge, he told the jury that “the

         critical factual issue which you must decide” is whether Phenergan’s
         FDA-mandated label reflects a proper balance between “the risks and
         benefits of intravenous administration and the potential for injury to
         patients.” Id., at 220. See also ___ Vt. ___, ___, 944 A. 2d 179, 182
         (2006) (recognizing that respondent’s argument is that Phenergan’s
         “label should not have allowed IV push as a means of administration”).
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         safety determinations like the one it made here. The FDA
         has long known about the risks associated with IV push in
         general and its use to administer Phenergan in particular.
         Whether wisely or not, the FDA has concluded—over the
         course of extensive, 54-year-long regulatory proceedings—
         that the drug is “safe” and “effective” when used in accor­
         dance with its FDA-mandated labeling. The unfortunate
         fact that respondent’s healthcare providers ignored Phen­
         ergan’s labeling may make this an ideal medical­
         malpractice case.3 But turning a common-law tort suit
         into a “frontal assault” on the FDA’s regulatory regime for
         drug labeling upsets the well-settled meaning of the Su­
         premacy Clause and our conflict pre-emption jurispru­
         dence. Brief for United States as Amicus Curiae 21.
                                       II
                                       A
           To the extent that “[t]he purpose of Congress is the
         ultimate touchstone in every pre-emption case,” Med
         tronic, Inc. v. Lohr, 518 U. S. 470, 485 (1996) (internal
         quotation marks omitted), Congress made its “purpose”
         plain in authorizing the FDA—not state tort juries—to
         determine when and under what circumstances a drug is
         “safe.” “[T]he process for approving new drugs is at least
         as rigorous as the premarket approval process for medical
         devices,” Riegel v. Medtronic, Inc., 552 U. S. ___, ___
         (2008) (slip op., at 11) (GINSBURG, J., dissenting), and we
         ——————
           3 Respondent sued her physician, physician’s assistant, and hospital

         for malpractice. After the parties settled that suit for an undisclosed
         sum, respondent’s physician sent her a letter in which he admitted
         “responsibility” for her injury and expressed his “profoun[d] regre[t]”
         and “remors[e]” for his actions. 1 Tr. 178–179 (Mar. 8, 2004) (testimony
         of Dr. John Matthew); see also App. 102–103 (testimony of physician’s
         assistant Jessica Fisch) (noting that her “sense of grief” was so “great”
         that she “would have gladly cut off [her own] arm” and given it to
         respondent). Thereafter, both the physician and the physician’s assis­
         tant agreed to testify on respondent’s behalf in her suit against Wyeth.
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         held that the latter pre-empted a state-law tort suit that
         conflicted with the FDA’s determination that a medical
         device was “safe,” id., at ___ (slip op., at 11) (opinion of the
         Court).
            Under the Federal Food, Drug, and Cosmetic Act
         (FDCA), a drug manufacturer may not market a new drug
         before first submitting a new drug application (NDA) to
         the FDA and receiving the agency’s approval. See 21
         U. S. C. §355(a). An NDA must contain, among other
         things, “the labeling proposed to be used for such drug,”
         §355(b)(1)(F), “full reports of investigations which have
         been made to show whether or not such drug is safe for
         use and whether such drug is effective in use,”
         §355(b)(1)(A), and “a discussion of why the benefits exceed
         the risks [of the drug] under the conditions stated in the
         labeling,” 21 CFR §314.50(d)(5)(viii) (2008). The FDA will
         approve an NDA only if the agency finds, among other
         things, that the drug is “safe for use under the conditions
         prescribed, recommended, or suggested in the proposed
         labeling thereof,” there is “substantial evidence that the
         drug will have the effect it purports or is represented to
         have under the conditions of use prescribed, recom­
         mended, or suggested in the proposed labeling thereof,”
         and the proposed labeling is not “false or misleading in
         any particular.” 21 U. S. C. §355(d).
            After the FDA approves a drug, the manufacturer re­
         mains under an obligation to investigate and report any
         adverse events associated with the drug, see 21 CFR
         §314.80, and must periodically submit any new informa­
         tion that may affect the FDA’s previous conclusions about
         the safety, effectiveness, or labeling of the drug, 21
         U. S. C. §355(k). If the FDA finds that the drug is not
         “safe” when used in accordance with its labeling, the
         agency “shall” withdraw its approval of the drug. §355(e).
         The FDA also “shall” deem a drug “misbranded” if “it is
         dangerous to health when used in the dosage or manner,
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         or with the frequency or duration prescribed, recom­
         mended, or suggested in the labeling thereof.” §352(j).
            Thus, a drug’s warning label “serves as the standard
         under which the FDA determines whether a product is
         safe and effective.” 50 Fed. Reg. 7470 (1985). Labeling is
         “[t]he centerpiece of risk management,” as it “communi­
         cates to health care practitioners the agency’s formal,
         authoritative conclusions regarding the conditions under
         which the product can be used safely and effectively.” 71
         Fed. Reg. 3934 (2006). The FDA has underscored the
         importance it places on drug labels by promulgating com­
         prehensive regulations—spanning an entire part of the
         Code of Federal Regulations, see 21 CFR pt. 201, with
         seven subparts and 70 separate sections—that set forth
         drug manufacturers’ labeling obligations. Under those
         regulations, the FDA must be satisfied that a drug’s warn­
         ing label contains, among other things, “a summary of the
         essential scientific information needed for the safe and
         effective use of the drug,” §201.56(1), including a descrip­
         tion of “clinically significant adverse reactions,” “other
         potential safety hazards,” “limitations in use imposed by
         them, . . . and steps that should be taken if they occur,”
         §201.57(c)(6)(i). Neither the FDCA nor its implementing
         regulations suggest that juries may second-guess the
         FDA’s labeling decisions.
                                     B
                                     1
           Where the FDA determines, in accordance with its
         statutory mandate, that a drug is on balance “safe,” our
         conflict pre-emption cases prohibit any State from coun­
         termanding that determination. See, e.g., Buckman Co. v.
         Plaintiffs’ Legal Comm., 531 U. S. 341, 348 (2001) (after
         the FDA has struck “a somewhat delicate balance of statu­
         tory objectives” and determined that petitioner submitted
         a valid application to manufacture a medical device, a
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         State may not use common law to negate it); International
         Paper Co. v. Ouellette, 479 U. S. 481, 494 (1987) (after the
         EPA has struck “the balance of public and private inter­
         ests so carefully addressed by” the federal permitting
         regime for water pollution, a State may not use nuisance
         law to “upse[t]” it); Chicago & North Western Transp. Co.
         v. Kalo Brick & Tile Co., 450 U. S. 311, 321 (1981) (after
         the Interstate Commerce Commission has struck a “bal­
         ance” between competing interests in permitting the
         abandonment of a railroad line, a State may not use statu­
         tory or common law to negate it).
           Thus, as the Court itself recognizes, it is irrelevant in
         conflict pre-emption cases whether Congress “enacted an
         express pre-emption provision at some point during the
         FDCA’s 70-year history.” Ante, at 18; see also Geier, 529
         U. S., at 869 (holding the absence of an express pre­
         emption clause “does not bar the ordinary working of
         conflict pre-emption principles”). Rather, the ordinary
         principles of conflict pre-emption turn solely on whether a
         State has upset the regulatory balance struck by the
         federal agency. Id., at 884–885; see also Chicago & North
         Western Transp. Co., supra, at 317 (describing conflict pre­
         emption as “a two-step process of first ascertaining the
         construction of the [federal and state laws] and then de­
         termining the constitutional question whether they are
         actually in conflict” (internal quotation marks omitted)).
                                       2
           A faithful application of this Court’s conflict pre-emption
         cases compels the conclusion that the FDA’s 40-year-long
         effort to regulate the safety and efficacy of Phenergan pre­
         empts respondent’s tort suit. Indeed, that result follows
         directly from our conclusion in Geier.
           Geier arose under the National Traffic and Motor Safety
         Vehicle Act of 1966, which directs the Secretary of the
         Department of Transportation (DOT) to “establish by
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         order . . . motor vehicle safety standards,” 15 U. S. C.
         §1392(a) (1988 ed.), which are defined as “minimum stan­
         dard[s] for motor vehicle performance, or motor vehicle
         equipment performance,” §1391(2). Acting pursuant to
         that statutory mandate, the Secretary of Transportation
         promulgated Federal Motor Vehicle Safety Standard 208,
         which required car manufacturers to include passive
         restraint systems (i.e., devices that work automatically to
         protect occupants from injury during a collision) in a
         certain percentage of their cars built in or after 1987. See
         49 CFR §571.208 (1999). Standard 208 did not require
         installation of any particular type of passive restraint;
         instead, it gave manufacturers the option to install auto­
         matic seatbelts, airbags, or any other suitable technology
         that they might develop, provided the restraint(s) met the
         performance requirements specified in the rule. Ibid.
             Alexis Geier drove her 1987 Honda Accord into a tree,
         and although she was wearing her seatbelt, she nonethe­
         less suffered serious injuries. She then sued Honda under
         state tort law, alleging that her car was negligently and
         defectively designed because it lacked a driver’s-side
         airbag. She argued that Congress had empowered the
         Secretary to set only “minimum standard[s]” for vehicle
         safety. 15 U. S. C. §1391(2). She also emphasized that the
         National Traffic and Motor Safety Vehicle Act contains a
         saving clause, which provides that “[c]ompliance with any
         Federal motor vehicle safety standard issued under this
         subchapter does not exempt any person from any liability
         under common law.” §1397(k).
             Notwithstanding the statute’s saving clause, and not­
         withstanding the fact that Congress gave the Secretary
         authority to set only “minimum” safety standards, we held
         Geier’s state tort suit pre-empted. In reaching that result,
         we relied heavily on the view of the Secretary of Transpor­
         tation—expressed in an amicus brief—that Standard 208
         “ ‘embodies the Secretary’s policy judgment that safety
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         would best be promoted if manufacturers installed alter
         native protection systems in their fleets rather than one
         particular system in every car.’ ” 529 U. S., at 881 (quot­
         ing Brief for United States as Amicus Curiae, O. T. 1999,
         No. 98–1811, p. 25). Because the Secretary determined
         that a menu of alternative technologies was “safe,” the
         doctrine of conflict pre-emption barred Geier’s efforts to
         deem some of those federally approved alternatives “un­
         safe” under state tort law.
            The same rationale applies here. Through Phenergan’s
         label, the FDA offered medical professionals a menu of
         federally approved, “safe” and “effective” alternatives—
         including IV push—for administering the drug. Through a
         state tort suit, respondent attempted to deem IV push
         “unsafe” and “ineffective.” To be sure, federal law does not
         prohibit Wyeth from contraindicating IV push, just as
         federal law did not prohibit Honda from installing airbags
         in all its cars. But just as we held that States may not
         compel the latter, so, too, are States precluded from com­
         pelling the former. See also Fidelity Fed. Sav. & Loan
         Assn. v. De la Cuesta, 458 U. S. 141, 155 (1982) (“The
         conflict does not evaporate because the [agency’s] regula­
         tion simply permits, but does not compel,” the action
         forbidden by state law). If anything, a finding of pre­
         emption is even more appropriate here because the
         FDCA—unlike the National Traffic and Motor Safety
         Vehicle Act—contains no evidence that Congress intended
         the FDA to set only “minimum standards,” and the FDCA
         does not contain a saving clause.4 See also ante, at 18
         ——————
           4 To be sure, Congress recognized the principles of conflict pre­

         emption in the FDCA. See Drug Amendments of 1962, §202, 76 Stat.
         793 (“Nothing in the amendments made by this Act to the Federal
         Food, Drug, and Cosmetic Act shall be construed as invalidating any
         provision of State law . . . unless there is a direct and positive conflict
         between such amendments and such provision of State law”). But a
         provision that simply recognizes the background principles of conflict
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         (conceding Congress’ “silence” on the issue).
                                      III
           In its attempt to evade Geier’s applicability to this case,
         the Court commits both factual and legal errors. First, as
         a factual matter, it is demonstrably untrue that the FDA
         failed to consider (and strike a “balance” between) the
         specific costs and benefits associated with IV push. Sec­
         ond, as a legal matter, Geier does not stand for the legal
         propositions espoused by the dissenters (and specifically
         rejected by the majority) in that case. Third, drug labeling
         by jury verdict undermines both our broader pre-emption
         jurisprudence and the broader workability of the federal
         drug-labeling regime.
                                       A
           Phenergan’s warning label has been subject to the
         FDA’s strict regulatory oversight since the 1950’s. For at
         least the last 34 years, the FDA has focused specifically on
         whether IV-push administration of Phenergan is “safe”
         and “effective” when performed in accordance with Phen­
         ergan’s label. The agency’s ultimate decision—to retain IV
         push as one means for administering Phenergan, albeit
         subject to stringent warnings—is reflected in the plain
         text of Phenergan’s label (sometimes in boldfaced font and
         all-capital letters). And the record contains ample evi­
         dence that the FDA specifically considered and reconsid­
         ered the strength of Phenergan’s IV-push-related warn­
         ings in light of new scientific and medical data. The
         ——————
         pre-emption is not a traditional “saving clause,” and even if it were, it
         would not displace our conflict-pre-emption analysis. See Geier v.
         American Honda Motor Co., 529 U. S. 861, 869 (2000) (“[T]he saving
         clause . . . does not bar the ordinary working of conflict pre-emption
         principles”); id., at 873–874 (“The Court has . . . refused to read general
         ‘saving’ provisions to tolerate actual conflict both in cases involving
         impossibility and in ‘frustration-of-purpose’ cases” (emphasis deleted
         and citation omitted)).
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         majority’s factual assertions to the contrary are mistaken.
                                      1
            The FDA’s focus on IV push as a means of administering
         Phenergan dates back at least to 1975. In August of that
         year, several representatives from both the FDA and
         Wyeth met to discuss Phenergan’s warning label. At that
         meeting, the FDA specifically proposed “that Phenergan
         Injection should not be used in Tubex®.” 2 Record 583,
         586 (Plaintiff’s Trial Exh. 17, Internal Correspondence
         from W. E. Langeland to File (Sept. 5, 1975) (hereinafter
         1975 Memo)). “Tubex” is a syringe system used exclu­
         sively for IV push. See App. 43. An FDA official explained
         that the agency’s concerns arose from medical-malpractice
         lawsuits involving IV push of the drug, see 1975 Memo
         586, and that the FDA was aware of “5 cases involving
         amputation where the drug had been administered by
         Tubex together with several additional cases involving
         necrosis,” id., at 586–587. Rather than contraindicating
         Phenergan for IV push, however, the agency and Wyeth
         agreed “that there was a need for better instruction re­
         garding the problems of intraarterial injection.” Id., at
         587.
            The next year, the FDA convened an advisory committee
         to study, among other things, the risks associated with the
         Tubex system and IV push. App. 294. At the conclusion of
         its study, the committee recommended an additional IV­
         push-specific warning for Phenergan’s label, see ibid., but
         did not recommend eliminating IV push from the drug
         label altogether. In response to the committee’s recom­
         mendations, the FDA instructed Wyeth to make several
         changes to strengthen Phenergan’s label, including the
         addition of upper case warnings related to IV push. See
         id., at 279–280, 282–283.
            In 1987, the FDA directed Wyeth to amend its label to
         include the following text:
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              “ ‘[1] When used intravenously, [Phenergan] should be
              given in a concentration no greater than 25 mg/ml and
              at a rate not to exceed 25 mg/minute. [2] Injection
              through a properly running intravenous infusion may
              enhance the possibility of detecting arterial place­
              ment.’ ” Id., at 311–312.
         The first of the two quoted sentences refers specifically to
         IV push; as respondent’s medical expert testified at trial,
         the label’s recommended rate of administration (not to
         exceed 25 mg per minute) refers to “IV push, as opposed to
         say being in a bag and dripped over a couple of hours.”
         Id., at 52. The second of the two quoted sentences refers
         to IV drip. See id., at 15–16 (emphasizing that a “running
         IV” is the same thing as “IV drip”).
            In its 1987 labeling order, the FDA cited voluminous
         materials to “suppor[t]” its new and stronger warnings
         related to IV push and the preferability of IV drip.5 Id., at
         313. One of those articles specifically discussed the rela­
         tive advantages and disadvantages of IV drip compared to
         IV push, as well as the costs and benefits of administering
         Phenergan via IV push.6 The FDA also cited published
         case reports from the 1960’s of gangrene caused by the
         ——————
           5 The FDA cited numerous articles that generally discuss the costs

         and benefits associated with IV push. See, e.g., Nahrwold & Phelps,
         Inadvertent Intra-Arterial Injection of Mephenteramine, 70 Rocky
         Mountain Medical J. 38 (Sept. 1973) (cited in App. 314, no. 14); Albo,
         Cheung, Ruth, Snyder, & Beemtsma, Effect of Intra-Arterial Injections
         of Barbituates, 120 Am. J. of Surgery 676 (1970) (cited in App. 314,
         no. 12); Corser, Masey, Jacob, Kernoff, & Browne, Ischaemia Following
         Self-administered Intra-arterial Injection of Methylphenidate and
         Diamorphine, 40 Anesthesiology 51 (1985) (cited in App. 314, no. 9);
         Correspondence Regarding Thiopental and Thiamylal (3 letters), 59
         Anesthesiology 153 (1983) (cited in App. 314, no. 11); Miller, Arthur, &
         Stratigos, Intra-arterial Injection of a Barbituate, 23 Anesthesia
         Progress 25 (1976) (cited in App. 315, no. 19).
           6 See Webb & Lampert, Accidental Arterial Injections, 101 Am. J.

         Obstetrics & Gynecology 365 (1968) (cited in App. 313, no. 5).
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         intra-arterial injection of Phenergan,7 and the FDA in­
         structed Wyeth to amend Phenergan’s label in accordance
         with the latest medical research.8 The FDA also studied
         drugs similar to Phenergan and cited numerous caution­
         ary articles—one of which urged the agency to consider
         contraindicating such drugs for IV use altogether.9
         ——————
           7 See  Hager & Wilson, Gangrene of the Hand Following Intra-arterial
         Injection, 94 Archives of Surgery 86 (1967) (cited in App. 313, no. 7);
         Enloe, Sylvester, & Morris, Hazards of Intra-Arterial Injection of
         Hydroxyzine, 16 Canadian Anaesthetists’ Society J. 425 (1969) (herein­
         after Enloe) (noting “recent reports” of “the occurrence of severe necro­
         sis and gangrene following [administration of] promethazine (Phener­
         gan®)” (cited in App. 314, no. 15)). See also Mostafavi & Samimi,
         Accidental Intra-arterial Injection of Promethazine HCl During Gen­
         eral Anesthesia, 35 Anesthesiology 645 (1971) (reporting a case of
         gangrene, which required partial amputation of three fingers, after
         Phenergan was inadvertently pushed into an artery in the “antecubital”
         area); Promethazine, p. 7, in Clinical Pharmacology (Gold Standard
         Multimedia Inc. CD–ROM, version 1.16 (1998) (noting that “[i]nad­
         vertent intra-arterial injection [of Phenergan] can result in arterio­
         spasm . . . and development of gangrene”)).
             8 Hager and Wilson noted that the most common reactions to intra­

         arterial injections of drugs like Phenergan include “[i]mmediate, severe,
         burning pain,” as well as “blanching.” 94 Archives of Surgery, at 87–88.
         The FDA required Wyeth to include Hager and Wilson’s observations
         on Phenergan’s label. See App. 311 (requiring the label to warn that
         “ ‘[t]he first sign [of an intra-arterial injection] may be the patient’s
         reaction to a sensation of fiery burning’ ” pain and “ ‘[b]lanching’ ”).
             9 See Enloe 427 (discussing hydroxyzine—an antihistamine with

         chemical properties similar to those of Phenergan—and suggesting its
         “temporary” benefits can never outweigh the risks of intra-arterial
         injection); see also Goldsmith & Trieger, Accidental Intra-Arterial
         Injection: A Medical Emergency, 22 Anesthesia Progress 180 (1975)
         (noting the risks of intra-arterial administration of hydroxyzine) (cited
         in App. 315, no. 18); Klatte, Brooks, & Rhamy, Toxicity of Intra-Arterial
         Barbituates and Tranquilizing Drugs, 92 Radiology 700 (1969) (same)
         (cited in App. 314, no. 13). With full knowledge of those risks, FDA
         retained IV push for Phenergan, although the agency required Wyeth
         to incorporate observations from the Enloe article into Phenergan’s
         label. Compare Enloe 427 (arguing that “every precaution should be
         taken to avoid inadvertent intra-arterial injection,” including the use of
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           In “support” of its labeling order, the FDA also cited
         numerous articles that singled out the inner crook of the
         elbow—known as the “antecubital fossa” in the medical
         community—which is both a commonly used injection site,
         see id., at 70 (noting that respondent’s injection was
         pushed into “the antecubital space”), and a universally
         recognized high-risk area for inadvertent intra-arterial
         injections. One of the articles explained:
                 “Because of the numerous superficial positions the
              ulnar artery might occupy, it has often been entered
              during attempted venipuncture [of the antecubital
              fossa]. . . . However, the brachial and the radial arter­
              ies might also be quite superficial in the elbow re­
              gion. . . . The arterial variations of the arm, especially
              in and about the cubital fossa, are common and nu­
              merous. If venipuncture must be performed in this
              area, a higher index of suspicion must be maintained
              to forestall misdirected injections.” Stone & Donnelly,
              The Accidental Intra-arterial Injection of Thiopental,
              22 Anesthesiology 995, 996 (1961) (footnote omitted;
              cited in App. 315, no. 20).10

         ——————
         “an obviously well-functioning venoclysis”), with App. 312 (FDA’s 1987
         changes to Phenergan’s label). In contrast, at some time around 1970,
         the FDA prohibited all intravenous use of hydroxyzine. See id., at 79
         (testimony of Dr. Harold Green). The FDA’s decision to regulate the
         two drugs differently—notwithstanding (1) the agency’s knowledge of
         the risks associated with both drugs and (2) the agency’s recognition of
         the relevance of hydroxyzine-related articles and case reports in its
         regulation of Phenergan—further demonstrates that the FDA inten­
         tionally preserved IV-push administration for Phenergan. See also
         Haas, Correspondence, 33 Anesthesia Progress 281 (1986) (“[Hydroxyz­
         ine’s] restriction does not lie with the medicine itself, but in the practice
         and malpractice of intravenous techniques. Unfortunately, the practi­
         tioner who knows how to treat injection technique problems is usually
         not the practitioner with the intravenous technique problems”).
            10 See also Engler, Freeman, Kanavage, Ogden, & Moretz, Production

         of Gangrenous Extremities by Intra-Arterial Injections, 30 Am. Sur­
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         Based on this and other research, the FDA ordered Wyeth
         to include a specific warning related to the use of the
         antecubital space for IV push.11
                                      2
            When respondent was injured in 2000, Phenergan’s
         label specifically addressed IV push in several passages
         (sometimes in lieu of and sometimes in addition to those
         discussed above). For example, the label warned of the
         risks of intra-arterial injection associated with “aspira­
         tion,” which is a technique used only in conjunction with
         IV push.12 The label also cautioned against the use of
         ——————
         geon 602 (1964) (“Accidental arterial injection most often occurs in the
         antecubital region because this is a favorite site for venopuncture and
         in this area the ulnar and brachial arteries are superficial and easily
         entered” (cited in App. 313, no. 6)); Engler, Gangrenous Extremities
         Resulting from Intra-arterial Injections, 94 Archives of Surgery 644
         (1966) (similar) (cited in App. 314, no. 16); Lynas & Bisset, Intra­
         arterial Thiopentone, 24 Anaesthesia 257 (1969) (“Most [anesthesiolo­
         gists] agree that injections on the medial aspect of the antecubital fossa
         are best avoided” (cited in App. 314, no. 8)); Waters, Intra-arterial
         Thiopentone, 21 Anesthesia 346 (1966) (“The risk of producing gan­
         grene of the forearm by accidental injection of sodium thiopentone into
         an artery at the elbow has been recognised for many years” (cited in
         App. 314, no. 10)); see also Hager & Wilson, 94 Archives of Surgery, at
         88 (emphasizing that one of the best ways to prevent inadvertent intra­
         arterial injections is to be aware of “aberrant or superficial arteries at
         the antecubital, forearm, wrist, and hand level”); Mostafavi & Samimi,
         supra (warning against antecubital injections).
           11 See App. 311 (requiring Phenergan’s label to warn that practitio­

         ners should “ ‘[b]eware of the close proximity of arteries and veins at
         commonly used injection sites and consider the possibility of aberrant
         arteries’ ”).
           12 “Aspiration” refers to drawing a small amount of blood back into

         the needle to determine whether the needle is in an artery or a vein.
         Ordinarily, arterial blood is brighter than venous blood—but contact
         with Phenergan causes discoloration, which makes aspiration an
         unreliable method of protecting against intra-arterial injection. See id.,
         at 282. Therefore, the label warned that when using IV push, a medi­
         cal professional should beware that “[a]spiration of dark blood does not
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         “syringes with rigid plungers,” App. 390, which are used
         only to administer the drug via IV push. As respondent’s
         medical expert testified at trial, “by talking plungers and
         rigid needles, that’s the way you do it, to push it with the
         plunger.” Id., at 53 (testimony of Dr. John Matthew).
         Moreover, Phenergan’s 2000 label devoted almost a full
         page to discussing the “Tubex system,” see id., at 391,
         which, as noted above, is used only to administer the drug
         via IV push.
           While Phenergan’s label very clearly authorized the use
         of IV push, it also made clear that IV push is the delivery
         method of last resort. The label specified that “[t]he pre­
         ferred parenteral route of administration is by deep in­
         tramuscular injection.” Id., at 390. If an intramuscular
         injection is ineffective, then “it is usually preferable to
         inject [Phenergan] through the tubing of an intravenous
         infusion set that is known to be functioning satisfactorily.”
         Ibid. See also id., at 50–51 (testimony of respondent’s
         medical expert, Dr. John Matthew) (conceding that the
         best way to determine that an IV set is functioning satis­
         factorily is to use IV drip). Finally, if for whatever reason
         a medical professional chooses to use IV push, he or she is
         on notice that “INADVERTENT INTRA-ARTERIAL
         INJECTION CAN RESULT IN GANGRENE OF THE
         AFFECTED EXTREMITY.” Id., at 391; see also id., at
         390 (“Under no circumstances should Phenergan Injection
         be given by intra-arterial injection due to the likelihood of
         severe arteriospasm and the possibility of resultant gan­
         grene”).
           Phenergan’s label also directs medical practitioners to
         choose veins wisely when using IV push:
              “Due to the close proximity of arteries and veins in the
              areas most commonly used for intravenous injection,
         ——————
         preclude intra-arterial needle placement, because blood is discolored
         upon contact with Phenergan Injection.” Id., at 390.
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              extreme care should be exercised to avoid perivascular
              extravasation or inadvertent intra-arterial injection.
              Reports compatible with inadvertent intra-arterial in­
              jection of Phenergan Injection, usually in conjunction
              with other drugs intended for intravenous use, sug­
              gest that pain, severe chemical irritation, severe
              spasm of distal vessels, and resultant gangrene re­
              quiring amputation are likely under such circum­
              stances.” Ibid.
           Thus, it is demonstrably untrue that, as of 2000, Phen­
         ergan’s “labeling did not contain a specific warning about
         the risks of IV-push administration.” Ante, at 4. And
         whatever else might be said about the extensive medical
         authorities and case reports that the FDA cited in “sup­
         port” of its approval of IV-push administration of Phener­
         gan, it cannot be said that the FDA “paid no more than
         passing attention to” IV push, ante, at 6; nor can it be said
         that the FDA failed to weigh its costs and benefits, Brief
         for Respondent 50.
                                        3
            For her part, respondent does not dispute the FDA’s
         conclusion that IV push has certain benefits. At trial, her
         medical practitioners testified that they used IV push in
         order to help her “in a swift and timely way” when she
         showed up at the hospital for the second time in one day
         complaining of “intractable” migraines, “terrible pain,”
         inability to “bear light or sound,” sleeplessness, hours-long
         spasms of “retching” and “vomiting,” and when “every
         possible” alternative treatment had “failed.” App. 40
         (testimony of Dr. John Matthew); id., at 103, 106, 109
         (testimony of physician’s assistant Jessica Fisch).
            Rather than disputing the benefits of IV push, respon­
         dent complains that the FDA and Wyeth underestimated
         its costs (and hence did not provide sufficient warnings
         regarding its risks). But when the FDA mandated that
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         Phenergan’s label read, “INADVERTENT INTRA-
         ARTERIAL          INJECTION          CAN     RESULT        IN
         GANGRENE OF THE AFFECTED EXTREMITY,” id.,
         at 391, and when the FDA required Wyeth to warn that
         “[u]nder no circumstances should Phenergan Injection be
         given by intra-arterial injection,” id., at 390, the agency
         could reasonably assume that medical professionals would
         take care not to inject Phenergan intra-arterially. See also
         71 Fed. Reg. 3934 (noting that a drug’s warning label
         “communicates to health care practitioners the agency’s
         formal, authoritative conclusions regarding the conditions
         under which the product can be used safely and effec­
         tively”). Unfortunately, the physician’s assistant who
         treated respondent in this case disregarded Phenergan’s
         label and pushed the drug into the single spot on her arm
         that is most likely to cause an inadvertent intra-arterial
         injection.
            As noted above, when the FDA approved Phenergan’s
         label, it was textbook medical knowledge that the “antecu­
         bital fossa” creates a high risk of inadvertent intra-arterial
         injection, given the close proximity of veins and arteries.
         See supra, at 13–14; see also The Lippincott Manual of
         Nursing Practice 99 (7th ed. 2001) (noting, in a red-text
         “NURSING ALERT,” that the antecubital fossa is “not
         recommended” for administering dangerous drugs, “due to
         the potential for extravasation”).13 According to the physi­
         cian’s assistant who injured respondent, however, “[i]t
         never crossed my mind” that an antecubital injection of
         Phenergan could hit an artery. App. 110; see also ibid.
         (“[It] just wasn’t something that I was aware of at the
         time”). Oblivious to the risks emphasized in Phenergan’s
         ——————
            13 In addition, respondent’s own medical expert testified at trial that

         it is a principle of “basic anatomy” that the antecubital fossa contains
         aberrant arteries. See 2 Tr. 34–35 (Mar. 9, 2004) (testimony of Dr.
         Daniel O’Brien); see also ibid. (noting that Gray’s Anatomy, which is
         “the Bible of anatomy,” also warns of arteries in the antecubital space).
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         warnings, the physician’s assistant pushed a double dose
         of the drug into an antecubital artery over the course of
         “[p]robably about three to four minutes,” id., at 111; id., at
         105, notwithstanding respondent’s complaints of a
         “ ‘burn[ing]’ ” sensation that she subsequently described as
         “ ‘one of the most extreme pains that I’ve ever felt,’ ” id., at
         110, 180–181. And when asked why she ignored Phener­
         gan’s label and failed to stop pushing the drug after re­
         spondent complained of burning pains, the physician’s
         assistant explained that it would have been “just crazy” to
         “worr[y] about an [intra-arterial] injection” under the
         circumstances, id., at 111.
             The FDA, however, did not think that the risks associ­
         ated with IV push—especially in the antecubital space—
         were “just crazy.” That is why Phenergan’s label so clearly
         warns against them.
                                       B
           Given the “balance” that the FDA struck between the
         costs and benefits of administering Phenergan via IV
         push, Geier compels the pre-emption of tort suits (like this
         one) that would upset that balance. The contrary conclu­
         sion requires turning yesterday’s dissent into today’s
         majority opinion.
           First, the Court denies the existence of a federal-state
         conflict in this case because Vermont merely counter­
         manded the FDA’s determination that IV push is “safe”
         when performed in accordance with Phenergan’s warning
         label; the Court concludes that there is no conflict because
         Vermont did not “mandate a particular” label as a “re­
         placement” for the one that the jury nullified, and because
         the State stopped short of altogether “contraindicating IV­
         push administration.” Ante, at 8. But as we emphasized
         in Geier (over the dissent’s assertions to the contrary), the
         degree of a State’s intrusion upon federal law is irrele­
         vant—the Supremacy Clause applies with equal force to a
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         state tort law that merely countermands a federal safety
         determination and to a state law that altogether prohibits
         car manufacturers from selling cars without airbags.
         Compare 529 U. S., at 881–882, with id., at 902 (STEVENS,
         J., dissenting). Indeed, as recently as last Term, we held
         that the Supremacy Clause pre-empts a “[s]tate tort law
         that requires a manufacturer’s catheters to be safer, but
         hence less effective, than the model the FDA has ap­
         proved . . . .” Riegel, 552 U. S., at ___ (slip op., at 11). It
         did not matter there that the State stopped short of alto­
         gether prohibiting the use of FDA-approved catheters—
         just as it does not matter here that Vermont stopped short
         of altogether prohibiting an FDA-approved method for
         administering Phenergan. See also Lohr, 518 U. S., at 504
         (BREYER, J., concurring in part and concurring in judg­
         ment) (noting it would be an “anomalous result” if pre­
         emption applied differently to a state tort suit premised on
         the inadequacy of the FDA’s safety regulations and a state
         law that specifically prohibited an FDA-approved design).
            Second, the Court today distinguishes Geier because the
         FDA articulated its pre-emptive intent “without offering
         States or other interested parties notice or opportunity for
         comment.” Ante, at 21; see also ante, at 24. But the Geier
         Court specifically rejected the argument (again made by
         the dissenters in that case) that conflict pre-emption is
         appropriate only where the agency expresses its pre­
         emptive intent through notice-and-comment rulemaking.
         Compare 529 U. S., at 885 (“To insist on a specific expres­
         sion of agency intent to pre-empt, made after notice-and­
         comment rulemaking, would be in certain cases to tolerate
         conflicts that an agency, and therefore Congress, is most
         unlikely to have intended. The dissent, as we have said,
         apparently welcomes that result . . . . We do not”), with
         id., at 908–910 (STEVENS, J., dissenting) (emphasizing
         that “we generally expect an administrative regulation to
         declare any intention to pre-empt state law with some
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         specificity,” and that “[t]his expectation . . . serves to
         ensure that States will be able to have a dialog with agen­
         cies regarding pre-emption decisions ex ante through the
         normal notice-and-comment procedures of the Administra­
         tive Procedure Act” (internal quotation marks omitted)).
         Indeed, pre-emption is arguably more appropriate here
         than in Geier because the FDA (unlike the DOT) declared
         its pre-emptive intent in the Federal Register. See 71 Fed.
         Reg. 3933–3936. Yet the majority dismisses the FDA’s
         published preamble as “inherently suspect,” ante, at 21,
         and an afterthought that is entitled to “no weight,” ante,
         at 25. Compare Lohr, supra, at 506 (opinion of BREYER,
         J.) (emphasizing that the FDA has a “special understand­
         ing of the likely impact of both state and federal require­
         ments, as well as an understanding of whether (or the
         extent to which) state requirements may interfere with
         federal objectives,” and that “[t]he FDA can translate
         these understandings into particularized pre-emptive
         intentions . . . through statements in ‘regulations, pre-
         ambles, interpretive statements, and responses to
         comments’ ”).
            Third, the Court distinguishes Geier because the DOT’s
         regulation “bear[s] the force of law,” whereas the FDA’s
         preamble does not. Ante, at 24; see also ante, at 19. But it
         is irrelevant that the FDA’s preamble does not “bear the
         force of law” because the FDA’s labeling decisions surely
         do. See 21 U. S. C. §355. It is well within the FDA’s
         discretion to make its labeling decisions through adminis­
         trative adjudications rather than through less-formal and
         less-flexible rulemaking proceedings, see SEC v. Chenery
         Corp., 332 U. S. 194 (1947), and we have never previously
         held that our pre-emption analysis turns on the agency’s
         choice of the latter over the former. Moreover, it cannot be
         said that Geier’s outcome hinged on the agency’s choice to
         promulgate a rule. See ante, at 19, 24. The Geier Court
         relied—again over the dissenters’ protestations—on mate­
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         rials other than the Secretary’s regulation to explain the
         conflict between state and federal law. Compare 529
         U. S., at 881, with id., at 899–900 (STEVENS, J., dissent­
         ing), and ante, at 1–2 (BREYER, J., concurring).
            Fourth, the Court sandwiches its discussion of Geier
         between the “presumption against pre-emption,” ante, at
         18, and heavy emphasis on “the longstanding coexistence
         of state and federal law and the FDA’s traditional recogni­
         tion of state-law remedies,” ante, at 24. But the Geier
         Court specifically rejected the argument (again made by
         the dissenters in that case) that the “presumption against
         pre-emption” is relevant to the conflict pre-emption analy­
         sis. See 529 U. S., at 906–907 (STEVENS, J., dissenting)
         (“[T]he Court simply ignores the presumption [against pre­
         emption]”). Rather than invoking such a “presumption,”
         the Court emphasized that it was applying “ordinary,”
         “longstanding,” and “experience-proved principles of con­
         flict pre-emption.” Id., at 874. Under these principles, the
         sole question is whether there is an “actual conflict” be­
         tween state and federal law; if so, then pre-emption fol­
         lows automatically by operation of the Supremacy Clause.
         Id., at 871–872. See also Buckman, 531 U. S., at 347–348
         (“[P]etitioner’s dealings with the FDA were prompted by
         [federal law], and the very subject matter of petitioner’s
         statements [to the FDA] were dictated by [federal law].
         Accordingly—and in contrast to situations implicating
         ‘federalism concerns and the historic primacy of state
         regulation of matters of health and safety’—no presump­
         tion against pre-emption obtains in this case” (citation
         omitted)).14
         ——————
            14 Thus, it is not true that “this Court has long” applied a presump­

         tion against pre-emption in conflict pre-emption cases. Ante, at 9, n. 3
         (majority opinion). As long ago as Gibbons v. Ogden, 9 Wheat. 1, 210
         (1824), the Court inquired whether a state law “interfer[ed] with,” was
         “contrary to,” or “c[a]me into collision with” federal law—and it did so
         without ever invoking a “presumption.” See also Davis, Unmasking the
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            Finally, the Geier Court went out of its way to empha­
         size (yet again over the dissenters’ objections) that it
         placed “some weight” on the DOT’s amicus brief, which
         explained the agency’s regulatory objectives and the ef­
         fects of state tort suits on the federal regulatory regime.
         529 U. S., at 883; compare id., at 910–911 (STEVENS, J.,
         dissenting) (criticizing the majority for “uph[olding] a
         regulatory claim of frustration-of-purposes implied conflict
         pre-emption based on nothing more than an ex post admin­
         istrative litigating position and inferences from regulatory
         history and final commentary”). See also Lohr, 518 U. S.,
         at 496 (recognizing that the FDA is “uniquely qualified” to
         explain whether state law conflicts with the FDA’s objec­
         tives). Yet today, the FDA’s explanation of the conflict
         between state tort suits and the federal labeling regime,
         set forth in the agency’s amicus brief, is not even men­
         tioned in the Court’s opinion. Instead of relying on the
         FDA’s explanation of its own regulatory purposes, the
         Court relies on a decade-old and now-repudiated state­
         ment, which the majority finds preferable. See ante, at
         21–22, 24, n. 13. Cf. Riegel, 552 U. S., at ___ (slip op., at
         13) (noting that “the agency’s earlier position (which the
         dissent describes at some length and finds preferable) is
         ——————
         Presumption in Favor of Preemption, 53 S. C. L. Rev. 967, 974 (2002)
         (noting that many of the Court’s early pre-emption cases “resulted in
         almost automatic preemption of concurrent state regulation”). In
         subsequent years the Court has sometimes acknowledged a limited
         “presumption against pre-emption,” but it nonetheless remained an
         open question—before today—whether that presumption applied in
         conflict pre-emption cases. See Crosby v. National Foreign Trade
         Council, 530 U. S. 363, 374, n. 8 (2000) (“We leave for another day a
         consideration in this context of a presumption against preemption”).
         Moreover, this Court has never held that the “presumption” applies in
         an area—such as drug labeling—that has long been “reserved for
         federal regulation.” United States v. Locke, 529 U. S. 89, 111 (2000).
         See also Buckman Co. v. Plaintiffs’ Legal Comm., 531 U. S. 341, 347–
         348 (2001).
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         . . . compromised, indeed deprived of all claim to deference,
         by the fact that it is no longer the agency’s position” (cita­
         tion omitted)); Altria Group, Inc. v. Good, 555 U. S. ___,
         ___ (2008) (slip op., at 16–17) (rejecting petitioners’ reli­
         ance on the pre-emptive effect of the agency’s “longstand­
         ing policy” because it is inconsistent with the agency’s
         current one). And JUSTICE BREYER suggests that state
         tort suits may “help the [FDA],” ante, at 1 (concurring
         opinion), notwithstanding the FDA’s insistence that state
         tort suits will “disrupt the agency’s balancing of health
         risks and benefits,” Brief for United States as Amicus
         Curiae 9.
             Geier does not countenance the use of state tort suits to
         second-guess the FDA’s labeling decisions.          And the
         Court’s contrary conclusion has potentially far-reaching
         consequences.
                                         C
            By their very nature, juries are ill-equipped to perform
         the FDA’s cost-benefit-balancing function. As we ex­
         plained in Riegel, juries tend to focus on the risk of a
         particular product’s design or warning label that arguably
         contributed to a particular plaintiff’s injury, not on the
         overall benefits of that design or label; “the patients who
         reaped those benefits are not represented in court.” 552
         U. S., at ___ (slip op., at 12). Indeed, patients like respon­
         dent are the only ones whom tort juries ever see, and for a
         patient like respondent—who has already suffered a tragic
         accident—Phenergan’s risks are no longer a matter of
         probabilities and potentialities.
            In contrast, the FDA has the benefit of the long view.
         Its drug-approval determinations consider the interests of
         all potential users of a drug, including “those who would
         suffer without new medical [products]” if juries in all 50
         States were free to contradict the FDA’s expert determina­
         tions. Id., at ___ (slip op., at 13). And the FDA conveys its
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         warnings with one voice, rather than whipsawing the
         medical community with 50 (or more) potentially conflict­
         ing ones. After today’s ruling, however, parochialism may
         prevail.
           The problem is well illustrated by the labels borne by
         “vesicant” drugs, many of which are used for chemother­
         apy. As a class, vesicants are much more dangerous than
         drugs like Phenergan,15 but the vast majority of vesicant
         labels—like Phenergan’s—either allow or do not disallow
         IV push. See Appendix, infra. Because vesicant extrava­
         sation can have devastating consequences, and because
         the potentially lifesaving benefits of these drugs offer
         hollow solace to the victim of such a tragedy, a jury’s cost­
         benefit analysis in a particular case may well differ from
         the FDA’s.
           For example, consider Mustargen (mechlorethamine
         HCl)—the injectable form of mustard gas—which can be
         used as an anticancer drug. Mustargen’s FDA-approved
         label warns in several places that “This drug is HIGHLY
         TOXIC.”16 Indeed, the drug is so highly toxic:
              “Should accidental eye contact occur, copious irriga­
              tion for at least 15 minutes with water, normal saline
              or a balanced salt ophthalmic irrigating solution
              should be instituted immediately, followed by prompt
              ophthalmologic consultation. Should accidental skin

         ——————
           15 Vesicants may cause “blistering, severe tissue injury, or tissue
         necrosis” upon extravasation—even if the drug is not injected into an
         artery. See, e.g., Schulmeister, Administering Vesicants, 9 Clinical J.
         of Oncology Nursing 469, 469–470 (2005). See also ante, at 4 (majority
         opinion) (noting that Phenergan is labeled as an “irritant”); cf. Brief for
         Anju Budhwani et al. as Amici Curiae 15 (suggesting Phenergan should
         be considered a “vesicant”).
            16 FDA,  Oncology Tools Product Label Details, online at
         http://www.accessdata.fda.gov/scripts/cder/onctools/
         labels.cfm?GN=meclorethamine,%20nitrogen%20mustard (as visited Mar. 2,
         2009, and available in Clerk of Court’s case file).
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              contact occur, the affected part must be irrigated im­
              mediately with copious amounts of water, for at least
              15 minutes while removing contaminated clothing and
              shoes, followed by 2% sodium thiosulfate solution.
              Medical attention should be sought immediately.
              Contaminated clothing should be destroyed.”17
         Yet when it comes to administering this highly toxic drug,
         the label provides that “the drug may be injected directly
         into any suitable vein, [but] it is injected preferably into
         the rubber or plastic tubing of a flowing intravenous infu­
         sion set. This reduces the possibility of severe local reac­
         tions due to extravasation or high concentration of the
         drug.” (Emphasis added.) Similarly, the FDA-approved
         labels for other powerful chemotherapeutic vesicants—
         including Dactinomycin, Oxaliplatin, Vinblastine, and
         Vincristine—specifically allow IV push, notwithstanding
         their devastating effects when extravasated.
            The fact that the labels for such drugs allow IV push is
         striking—both because vesicants are much more danger­
         ous than Phenergan, and also because they are so fre­
         quently extravasated, see Boyle & Engelking, Vesicant
         Extravasation: Myths and Realities, 22 Oncology Nursing
         Forum 57, 58 (1995) (arguing that the rate of extravasa­
         tion is “considerably higher” than 6.4% of all vesicant
         administrations). Regardless of the FDA’s reasons for not
         contraindicating IV push for these drugs, it is odd (to say
         the least) that a jury in Vermont can now order for Phen­
         ergan what the FDA has chosen not to order for mustard
         gas.18




         ——————
           17 Ibid.
           18 The same is true of FDA’s regulation of hydroxyzine.   See n. 9,
         supra.
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         26                   WYETH v. LEVINE

                              ALITO, J., dissenting

                                   *   *    *
            To be sure, state tort suits can peacefully coexist with
         the FDA’s labeling regime, and they have done so for
         decades. Ante, at 17–18. But this case is far from peaceful
         coexistence. The FDA told Wyeth that Phenergan’s label
         renders its use “safe.” But the State of Vermont, through
         its tort law, said: “Not so.”
            The state-law rule at issue here is squarely pre-empted.
         Therefore, I would reverse the judgment of the Supreme
         Court of Vermont.
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                                ALITO
                            Appendix to, J., dissenting
                                         opinion  of ALITO, J.

                    APPENDIX TO OPINION OF ALITO, J.

         Vesicant1              IV Push2
         Dactinomycin           Specifically allowed
         Mechlorethamine        Specifically allowed
         (Mustargen)
         Oxaliplatin            Specifically allowed
         Vinblastine            Specifically allowed
         Vincristine            Specifically allowed
         Bleomycin              Neither mentioned nor prohibited
         Carboplatin            Neither mentioned nor prohibited
         Dacarbazine            Neither mentioned nor prohibited
         Mitomycin              Neither mentioned nor prohibited
         Carmustine             Not prohibited; IV drip recommended
         Cisplatin              Not prohibited; IV drip recommended
         Epirubicin             Not prohibited; IV drip recommended
         Etoposide              Not prohibited; IV drip recommended
         Ifosfamide             Not prohibited; IV drip recommended
         Mitoxantrone           Not prohibited; IV drip recommended
         Paclitaxel             Not prohibited; IV drip recommended
         Teniposide             Not prohibited; IV drip recommended
         Vinorelbine            Not prohibited; IV drip recommended
         Daunorubicin           Prohibited
         Doxorubicin            Prohibited
            1 Wilkes & Barton-Burke, 2008 Oncology Nursing Drug Handbook

         27–33 (2008) (Table 1.6).
            2 IV-push information is derived from the “dosage and administra­

         tion” sections of individual drug labels (available in Clerk of Court’s
         case file).
